       Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 1 of 55




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 7
                               UNITED STATES DISTRICT COURT
 8                           NORTHERN DISTRICT OF CALIFORNIA

 9
     BRADLEY MORGAN; JESSE SMITHNOSKY;                 Case No. __________________
10   VINCENT LAM; ETE ADOTE; YINGZHI
     CHUA; MATT SZYMASZEK; IAN JOHNS;
11   DOUGLAS SCHADEWALD; ROGER LU;
     SILVESTER RUCKDASCHEL; JEFFREY                    CLASS ACTION COMPLAINT
12   SLUZINSKI; ADAM NORTH; PHILIPPE LEE;
     HIO FONG MAK; TODD SPAFFORD;
13
     STEPHEN MARSHALL; KASPER LUND;
14   ANDREAS RASMUSSEN; ANTOINE
     MEREMANS; VINCENT WONG; GEOFFREY
15   CAPELLI; RALPH PORTER; ROBERT COMO;               DEMAND FOR JURY TRIAL
     DANIEL FREEMAN; COLIN HARTLEY;
16   DANIEL LEE; HERSH STERN; ANDREAS
17   OEE; BASTIAN BLUEM; BILAL AMAJJAR;
     CHRIS MONEY; CHRISTOPHER BEDDIE;
18   DANIEL RICEBERG; KISHAN NAZRE;
     MIKKEL FABRICIUS; MOUSTAFA ACHEFY;
19   NELSON CHANG; THEO MOUSTROU;
     TAYLOR PAUR; MARCUS HOLLAND;
20   SCOTT BOHLMAN; DIANA KISLITSYNA; QI
21   HU; SEAN GETZWILLER; MOJCA PERS;
     CALVIN LEE; WILLIAM AYERS; HANSU
22   CHU; MATTHEW FARMER; DAVID LEE;
     DOMINIQUE MARCEL COULOMBE; HUN
23   WEI LEE; YAËL FAZY; MAURICE TAN;
     JEAN FERREIRA; ABDOU YEKINI; DHERAJ
24   AGARWAL; FRANKIE FAREED PATADEEN;
25   JAN-EIKE WILKEN; TIMOTHY BARANY;

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27   [Caption continued on next page.]
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                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 2 of 55




 1   ANTHONY DEGOL; MATTHEW HOYLE;
     LUQMAAN RAWOOT; FRANCISCO JAVIER
 2   FRANCO ALGARRADA; and ZACHARY
     GRUNEBERG, Individually, and on Behalf of
 3
     All Others Similarly Situated,
 4
                 Plaintiffs,
 5
           v.
 6
     CONSTELLATION NETWORK, INC.;
 7
     BENJAMIN JORGENSEN; WYATT
 8   MELDMAN-FLOCH; BENJAMIN DIGGLES;
     MATHIAS GOLDMANN; ALTIF BROWN;
 9   BRENDAN PLAYFORD AND JOHN DOES 1-
     10.
10

11               Defendants.

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                                  CLASS ACTION COMPLAINT
         Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 3 of 55




 1           Plaintiffs Bradley Morgan, Jesse Smithnosky, Vincent Lam, Ete Adote, Yingzhi Chua,

 2   Matt Szymaszek, Ian Johns, Douglas Schadewald, Roger Lu, Silvester Ruckdaschel, Jeffrey

 3   Sluzinski, Adam North, Philippe Lee, Hio Fong Mak, Todd Spafford, Stephen Marshall, Kasper

 4   Lund, Andreas Rasmussen, Antoine Meremans, Vincent Wong, Geoffrey Capelli, Ralph Porter,

 5   Robert Como, Daniel Freeman, Colin Hartley, Daniel Lee, Hersh Stern, Andreas Oee, Bastian

 6   Bluem, Bilal Amajjar, Chris Money, Christopher Beddie, Daniel Riceberg, Kishan Nazre, Mikkel

 7   Fabricius, Moustafa Achefy, Nelson Chang, Theo Moustrou, Taylor Paur, Marcus Holland, Scott

 8   Bohlman, Diana Kislitsyna, Qi Hu, Sean Getzwiller, Mojca Pers, Calvin Lee, William Ayers,

 9   Hansu Chu, Matthew Farmer, David Lee, Dominique Marcel Coulombe, Hun Wei Lee, Yaël Fazy,

10   Maurice Tan, Jean Ferreira, Abdou Yekini, Dheraj Agarwal, Frankie Fareed Patadeen, Jan-Eike

11   Wilken, Timothy Barany, Anthony DeGol, Matthew Hoyle, Luqmaan Rawoot, Francisco Javier

12   Franco Algarrada, and Zachary Gruneberg (collectively, “Plaintiffs”), individually and on behalf

13   of all others similarly situated, bring this Class Action Complaint (“Complaint”) against

14   Defendants Constellation Network, Inc. (“Constellation” or the “Company”), Brendan Playford,

15   Benjamin Jorgensen, Wyatt Meldman-Floch, Benjamin Diggles, Mathias Goldman, and Altif

16   Brown (the “Individual Defendants” and, together with Constellation, “Defendants”).           The

17   following allegations are based upon personal knowledge as to Plaintiffs’ own facts, upon

18   investigation by Plaintiffs’ counsel, and upon information and belief where facts are solely in

19   possession of Defendants.

20                                     NATURE OF THE CASE

21           1.    This case arises from Constellation’s refusal to allow investors to participate in a

22   “swap” that the Company had arranged from its original cryptocurrency token (the “ERC-20 DAG

23   Tokens”) to its second cryptocurrency token (the “Mainnet DAG Tokens”).1              Defendants

24   purposefully designed the “Token Swap” in such a manner that the Company could exclude a large

25   swath of investors from exchanging their ERC-20 DAG Tokens to the Mainnet DAG Tokens.

26   These unswapped ERC-20 DAG Tokens do not, however, simply disappear. As a result of their

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          The ERC-20 DAG Tokens and Mainnet DAG Tokens are collectively referred to as the
     “DAG Tokens.”
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                                       CLASS ACTION COMPLAINT
       Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 4 of 55




 1   actions with the Token Swap, Defendants created a secondary market for the unswapped ERC-20

 2   DAG Tokens. Defendants’ simultaneous use of misleading marketing further compounded the

 3   problem by artificially inflating interest in Constellation generally, which, in turn, led investors

 4   seeking to invest in the Mainnet DAG Token into mistakenly purchasing the unswapped ERC-20

 5   DAG Tokens. Defendants are incentivized to continue to exclude ERC-20 DAG Token holders

 6   from swapping their tokens because doing so increases their proportional share of the Mainnet

 7   DAG Token supply and increases the monetary value of Defendants’ Mainnet DAG holdings.

 8          2.      A DAG token is a cryptocurrency created and maintained by Constellation. DAG

 9   is a distributed ledger technology characterized as a “directed acyclic graph” that purports to

10   implement a horizontally scalable blockchain architecture known as Extended Trust Chain with a

11   peer-to-peer layer known as a gossip protocol.

12          3.      Plaintiffs bring this action on behalf of all investors who purchased Constellation’s

13   ERC-20 DAG Tokens after January 1, 2017 and were subsequently denied the ability to swap

14   those ERC-20 DAG Tokens for Mainnet DAG Tokens.

15          4.      Following a successful initial coin offering (“ICO”) that raised $33.7 million in

16   2018, Constellation’s former Chief Executive Officer (“CEO”), Defendant Branden Playford

17   mysteriously stepped down from his position. With rumors circulating that Defendant Playford

18   squandered the proceeds from the ICO day trading, investors demanded to know what had

19   occurred. Instead of disclosing the information regarding Defendant Playford and the ICO

20   proceeds to investors, Defendants engaged in a scheme to (a) render early investors’ ERC-20 DAG

21   Tokens worthless and then exclude as many of those early investors as possible from swapping

22   the ERC-20 DAG Tokens with the Company’s newly-minted DAG Token; and (b) lure new

23   investors into purchasing the unswapped ERC-20 DAG Tokens by using dubious online promoters

24   to engage in misleading marketing tactics aimed at pumping up the token price.

25          5.      As set forth in detail below, Defendants controlled all aspects of the DAG Token

26   Swap, including its timing and promotion. Defendants failed to provide adequate notice to

27   investors and made it onerous to swap the ERC-20 DAG Tokens to Mainnet DAG Tokens. Then

28   Defendants purposefully chose to continue to move forward with the Token Swap, despite it taking


                                        CLASS ACTION COMPLAINT
       Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 5 of 55




 1   place on a single day at the height of the COVID-19 pandemic in April 2020. Making matters

 2   worse, Defendants used the COVID-19 pandemic as a basis for not communicating with investors

 3   during the lead up to the Token Swap. Finally, even after the Token Swap closed, Defendants

 4   continue to allow investors to purchase the ERC-20 DAG Tokens on various decentralized

 5   cryptocurrency exchanges, and they refuse to remove information on these exchanges that both

 6   links the ERC-20 DAG Tokens to the Mainnet DAG Tokens and leads investors to believe they

 7   are purchasing the Company’s official digital asset instead of now defunct ERC-20 DAG Tokens.

 8          6.     Plaintiffs bring this class action on behalf of themselves and an objectively

 9   identifiable class consisting of all investors that purchased Constellation’s ERC-20 DAG Tokens

10   and were precluded from swapping to those ERC-20 DAG Tokens for Mainnet DAG Tokens.

11                                              PARTIES

12          Plaintiffs

13          7.     Plaintiff Bradley Morgan is a resident and citizen of the United States, living in

14   Warsaw, Poland. Plaintiff Morgan purchased ERC-20 DAG Tokens and suffered investment

15   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

16          8.     Plaintiff Jesse Smithnosky is a resident and citizen of California, living in Laguna

17   Beach, California. Plaintiff Smithnosky purchased ERC-20 DAG Tokens and suffered investment

18   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

19          9.     Plaintiff Yingzhi Chua is a resident and citizen of Louisiana, living in Baton Rouge,

20   Louisiana. Plaintiff Chua purchased ERC-20 DAG Tokens and suffered investment losses as a

21   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

22          10.    Plaintiff Vincent Lam is a resident and citizen of Canada, living in Vancouver,

23   Canada. Plaintiff Lam purchased ERC-20 DAG Tokens and suffered investment losses as a result

24   of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

25          11.    Plaintiff Ete Adote is a resident and citizen of New York, living in Brooklyn, New

26   York. Plaintiff Adote purchased ERC-20 DAG Tokens and suffered investment losses as a result

27   of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

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                                       CLASS ACTION COMPLAINT
       Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 6 of 55




 1          12.    Plaintiff Matt Szymaszek is a resident and citizen of California, living in Redondo

 2   Beach, California. Plaintiff Szymaszek purchased ERC-20 DAG Tokens and suffered investment

 3   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 4          13.    Plaintiff Ian Johns is a resident and citizen of Texas, living in Austin, Texas.

 5   Plaintiff Johns purchased ERC-20 DAG Tokens and suffered investment losses as a result of not

 6   being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 7          14.    Plaintiff Douglas Schadewald is a resident and citizen of New York, living in New

 8   York, New York. Plaintiff Schadewald purchased ERC-20 DAG Tokens and suffered investment

 9   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

10          15.    Plaintiff Roger Lu is a resident and citizen of California, living in Long Beach,

11   California. Plaintiff Lu purchased ERC-20 DAG Tokens and suffered investment losses as a result

12   of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

13          16.    Plaintiff Silvester Ruckdaschel is a resident of Portugal, living in Lisbon, Portugal.

14   Plaintiff Ruckdaschel purchased ERC-20 DAG Tokens and suffered investment losses as a result

15   of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

16          17.    Plaintiff Jeffrey Sluzinski is a resident and citizen of Nevada, living in Henderson,

17   Nevada. Plaintiff Sluzinski purchased ERC-20 DAG tokens and suffered investment losses as a

18   result of not being allowed to swap the ERC-20 DAG for Mainnet DAG tokens

19          18.    Plaintiff Adam North is a resident and citizen of the United Kingdom, living in

20   Derbyshire, England. Plaintiff North purchased ERC-20 DAG Tokens and suffered investment

21   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

22          19.    Plaintiff Philippe Lee is a resident and citizen of California, living in Alhambra,

23   California. Plaintiff Philippe Lee purchased ERC-20 DAG Tokens and suffered investment losses

24   as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

25          20.    Plaintiff Hio Fong Mak is a resident and citizen of California, living in El Monte,

26   California. Plaintiff Mak purchased ERC-20 DAG Tokens and suffered investment losses as a

27   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

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                                       CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 7 of 55




 1          21.    Plaintiff Todd Spafford is a resident and citizen of Nevada, living in Las Vegas,

 2   Nevada. Plaintiff Spafford purchased ERC-20 DAG Tokens and suffered investment losses as a

 3   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 4          22.    Plaintiff Stephen Marshall is a resident and citizen of Vermont, living in

 5   Morrisville, Vermont. Plaintiff Marshall purchased ERC-20 DAG Tokens and suffered investment

 6   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 7          23.    Plaintiff Kasper Lund is a resident and citizen of Norway, living in Stavanger,

 8   Norway. Plaintiff Lund purchased ERC-20 DAG Tokens and suffered investment losses as a result

 9   of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

10          24.    Plaintiff Andreas Rasmussen is a resident and citizen of Denmark, living in

11   Copenhagen, Denmark. Plaintiff Rasmussen purchased ERC-20 DAG Tokens and suffered

12   investment losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet

13   DAG Tokens.

14          25.    Plaintiff Antoine Meremans is a citizen of Belgium, living in Banpo-dong, South

15   Korea. Plaintiff Meremans purchased ERC-20 DAG Tokens and suffered investment losses as a

16   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

17          26.    Plaintiff Vincent Wong is a resident and citizen of Thailand, living in Bangkok,

18   Thailand. Plaintiff Wong purchased ERC-20 DAG Tokens and suffered investment losses as a

19   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

20          27.    Plaintiff Geoffrey Capelli is a resident and citizen of Switzerland, living in

21   Tavannes, Switzerland. Plaintiff Capelli purchased ERC-20 DAG Tokens and suffered investment

22   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

23          28.    Plaintiff Ralph Porter is a resident and citizen of Washington, living in

24   Woodinville, Washington.    Plaintiff Porter purchased ERC-20 DAG Tokens and suffered

25   investment losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet

26   DAG Tokens.

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                                      CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 8 of 55




 1          29.    Plaintiff Robert Como is a resident and citizen of California, living in La Jolla,

 2   California. Plaintiff Como purchased ERC-20 DAG Tokens and suffered investment losses as a

 3   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 4          30.    Plaintiff Daniel Freeman is a resident and citizen of Nevada, living in Las Vegas,

 5   Nevada. Plaintiff Freeman purchased ERC-20 DAG Tokens and suffered investment losses as a

 6   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 7          31.    Plaintiff Colin Hartley is a resident and citizen of Canada, living in Nanaimo,

 8   Canada. Plaintiff Hartley purchased ERC-20 DAG Tokens and suffered investment losses as a

 9   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

10          32.    Plaintiff Daniel Lee is citizen of the United States, living in Seongdong-gu, South

11   Korea. Plaintiff Daniel Lee purchased ERC-20 DAG Tokens and suffered investment losses as a

12   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

13          33.    Plaintiff Hersh Stern is a resident and citizen of New Jersey, living in Monroe

14   Township, New Jersey. Plaintiff Stern purchased ERC-20 DAG Tokens and suffered investment

15   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

16          34.    Plaintiff Andreas Oee is a citizen of Denmark, living in Bangkok, Thailand.

17   Plaintiff Oee purchased ERC-20 DAG Tokens and suffered investment losses as a result of not

18   being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

19          35.    Plaintiff Bastian Bluem is a resident and citizen of Germany, living in Bravaria,

20   Germany. Plaintiff Bluem purchased ERC-20 DAG Tokens and suffered investment losses as a

21   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

22          36.    Plaintiff Bilal Amajjar is a resident and citizen of the Netherlands, living in Almere,

23   Netherlands. Plaintiff Amajjar purchased ERC-20 DAG Tokens and suffered investment losses

24   as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

25          37.    Plaintiff Chris Money is a resident and citizen of the United Kingdom, living in

26   Tatenhill, England. Plaintiff Money purchased ERC-20 DAG Tokens and suffered investment

27   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

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                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 9 of 55




 1          38.    Plaintiff Christopher Beddie is a resident and citizen of Australia, living in Sydney,

 2   Australia. Plaintiff Beddie purchased ERC-20 DAG Tokens and suffered investment losses as a

 3   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 4          39.    Plaintiff Daniel Riceberg is a resident and citizen of California, living in Los

 5   Angeles, California. Plaintiff Riceberg ERC-20 DAG Tokens and suffered investment losses as a

 6   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 7          40.    Plaintiff Kishan Nazre is a resident and citizen of New Jersey, living in Jersey City,

 8   New Jersey. Plaintiff Nazre purchased ERC-20 DAG Tokens and suffered investment losses as a

 9   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

10          41.    Plaintiff Mikkel Fabricius is a resident and citizen of Denmark, living in Roskilde,

11   Denmark. Plaintiff Fabricius purchased ERC-20 DAG Tokens and suffered investment losses as

12   a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

13          42.    Plaintiff Moustafa Achefy is a resident and citizen of Holland, living in Halfweg,

14   Noord, Holland. Plaintiff Achefy purchased ERC-20 DAG Tokens and suffered investment losses

15   as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

16          43.    Plaintiff Nelson Chang is a resident and citizen of New Jersey, living in Livingston,

17   New Jersey. Plaintiff Chang purchased ERC-20 DAG Tokens and suffered investment losses as a

18   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

19          44.    Plaintiff Theo Moustrou is a resident and citizen of France, living in Biarritz,

20   France. Plaintiff Moustrou purchased ERC-20 DAG Tokens and suffered investment losses as a

21   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

22          45.    Plaintiff Taylor Paur is a resident and citizen of California, living in Oceanside,

23   California. Plaintiff Paur purchased ERC-20 DAG Tokens and suffered investment losses as a

24   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

25          46.    Plaintiff Marcus Holland is a resident and citizen of the United Kingdom, living in

26   Exeter, England. Plaintiff Holland purchased ERC-20 DAG Tokens and suffered investment

27   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

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                                       CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 10 of 55




 1          47.    Plaintiff Scott Bohlman is a resident and citizen of Illinois, living in Lemont,

 2   Illinois. Plaintiff Bohlman purchased ERC-20 DAG Tokens and suffered investment losses as a

 3   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 4          48.    Plaintiff Diana Kislitsyna is a resident and citizen of Australia, living in Brisbane,

 5   Australia. Plaintiff Kislitsyna purchased ERC-20 DAG Tokens and suffered investment losses as

 6   a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 7          49.    Plaintiff Qi Hu is a citizen of Canada, living in Ottawa, Canada. Plaintiff Hu

 8   purchased ERC-20 DAG Tokens and suffered investment losses as a result of not being allowed

 9   to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

10          50.    Plaintiff Sean Getzwiller is a resident and citizen of Nevada, living in Las Vegas,

11   Nevada. Plaintiff Getzwiller purchased ERC-20 DAG Tokens and suffered investment losses as

12   a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

13          51.    Plaintiff Mojca Pers is a citizen of Slovinia and the United Kingdom, residing in

14   Haarlem, Netherlands. Plaintiff Pers purchased ERC-20 DAG Tokens and suffered investment

15   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

16          52.    Plaintiff Zaheer Ahmed is a resident and citizen of California, living in Clovis,

17   California. Plaintiff Ahmed purchased ERC-20 DAG Tokens and suffered investment losses as a

18   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

19          53.    Plaintiff Calvin Lee is a resident and citizen of South Korea, living in Seoul, South

20   Korea. Plaintiff Calvin Lee purchased ERC-20 DAG Tokens and suffered investment losses as a

21   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

22          54.    Plaintiff William Ayers is a resident and citizen of New York, living in Malverne,

23   New York. Plaintiff Ayers purchased ERC-20 DAG Tokens and suffered investment losses as a

24   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

25          55.    Plaintiff Hansu Chu is a resident and citizen of California, living in Los Angeles,

26   California. Plaintiff Chu purchased ERC-20 DAG Tokens and suffered investment losses as a

27   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

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                                       CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 11 of 55




 1          56.    Plaintiff Matthew Farmer is a resident and citizen of Texas, living in Austin, Texas.

 2   Plaintiff Farmer purchased ERC-20 DAG Tokens and suffered investment losses as a result of not

 3   being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 4          57.    Plaintiff David Lee is a resident and citizen of New York, living in New York, New

 5   York. Plaintiff David Lee purchased ERC-20 DAG Tokens and suffered investment losses as a

 6   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 7          58.    Plaintiff Dominique Marcel Coulombe is a resident and citizen of Canada, living in

 8   Kelowna, British Columbia. Plaintiff Coulombe purchased ERC-20 DAG Tokens and suffered

 9   investment losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet

10   DAG Tokens.

11          59.    Plaintiff Hun Wei Lee is a resident and citizen of Australia, living in North Epping,

12   Australia. Plaintiff Lee purchased ERC-20 DAG Tokens and suffered investment losses as a result

13   of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

14          60.    Plaintiff Yaël Fazy is a resident and citizen of France, living in Annecy, France.

15   Plaintiff Fazy purchased ERC-20 DAG Tokens and suffered investment losses as a result of not

16   being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

17          61.    Plaintiff Maurice Tan is a resident and citizen of Singapore, living in the Republic

18   of Singapore. Plaintiff Tan purchased ERC-20 DAG Tokens and suffered investment losses as a

19   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

20          62.    Plaintiff Jean Ferreira is a resident and citizen of Canada, living in the Quebec,

21   Canada. Plaintiff Ferreira purchased ERC-20 DAG Tokens and suffered investment losses as a

22   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

23          63.    Plaintiff Abdou Yekini is a resident and citizen of France, living in Dijon, France.

24   Plaintiff Yekini purchased ERC-20 DAG Tokens and suffered investment losses as a result of not

25   being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

26          64.    Plaintiff Dheraj Agarwal is a resident and citizen of Malaysia, living in Kuala

27   Lumpur, Malaysia. Plaintiff Agarwal purchased ERC-20 DAG Tokens and suffered investment

28   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.


                                       CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 12 of 55




 1          65.    Plaintiff Frankie Fareed Patadeen is a resident and citizen of Trinidad and Tobago,

 2   living in San Juan, Trinidad and Tobago. Plaintiff Patadeen purchased ERC-20 DAG Tokens and

 3   suffered investment losses as a result of not being allowed to swap the ERC-20 DAG Tokens for

 4   Mainnet DAG Tokens.

 5          66.    Plaintiff Jan-Eike Wilken is a resident and citizen of Austria, living in Vienna,

 6   Austria. Plaintiff Wilken purchased ERC-20 DAG Tokens and suffered investment losses as a

 7   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

 8          67.    Plaintiff Timothy Barany is a resident and citizen of Illinois, living in Chicago,

 9   Illinois. Plaintiff Barany purchased ERC-20 DAG Tokens and suffered investment losses as a

10   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

11          68.    Plaintiff Anthony DeGol is a resident and citizen of California, living in La Jolla,

12   California. Plaintiff DeGol purchased ERC-20 DAG Tokens and suffered investment losses as a

13   result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

14          69.    Plaintiff Matthew Hoyle is a resident and citizen of Florida, living in North Miami

15   Beach, Florida. Plaintiff Hoyle purchased ERC-20 DAG Tokens and suffered investment losses

16   as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

17          70.    Plaintiff Luqmaan Rawoot is a resident and citizen of South Africa, living in Cape

18   Town, South Africa. Plaintiff Rawoot purchased ERC-20 DAG Tokens and suffered investment

19   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

20          71.    Plaintiff Francisco Javier Franco Algarrada is a resident and citizen of Spain, living

21   in Madrid, Spain. Plaintiff Algarrada purchased ERC-20 DAG Tokens and suffered investment

22   losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet DAG Tokens.

23          72.    Plaintiff Zachary Gruneberg is a resident and citizen of Pennsylvanie, living in

24   Boalsburg, Pennsylvania. Plaintiff Gruneberg purchased ERC-20 DAG Tokens and suffered

25   investment losses as a result of not being allowed to swap the ERC-20 DAG Tokens for Mainnet

26   DAG Tokens.

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                                       CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 13 of 55




 1          Defendants

 2          73.     Defendant Constellation Network, Inc. is a business incorporated under the laws of

 3   the State of Delaware with its principal place of business at 480 5th Street, San Francisco,

 4   California 94107. Constellation is engaged in the business of designing, implementing, and

 5   providing cybersecurity for various “big” data sets and data sources.            Constellation is

 6   headquartered in San Francisco, and its marketing efforts emanate from California. Defendant

 7   Constellation is a citizen of the State of California.

 8          74.     Defendant Benjamin Jorgenson is a resident and citizen of California, living in San

 9   Francisco, California. Jorgenson currently serves as the CEO of Constellation.

10          75.     Defendant Brendan Playford is a resident and citizen of California, living in San

11   Francisco, California. Playford previously served as the Company’s CEO prior to Defendant

12   Jorgenson.

13          76.     Defendant Wyatt Meldman-Floch is a resident and citizen of California, living in

14   San Francisco, California. Meldman-Floch was a Co-Founder of Constellation, and he currently

15   serves as the Company’s Chief Technical Officer (“CTO”).

16          77.     Defendant Benjamin Diggles is a resident and citizen of Colorado, living in Denver,

17   Colorado. Diggles was a Co-Founder of Constellation (also previously serving as Constellation’s

18   Vice President of Business Development), and he currently serves as the Company’s Chief

19   Strategy Officer.

20          78.     Defendant Mathias Goldmann is a resident and citizen of California, living in San

21   Francisco, California. Goldmann was a Co-Founder of Constellation, and he currently serves as

22   the Company’s Vice President of Finance.

23          79.     Defendant Altif Brown is a resident and citizen of California, living in San

24   Francisco, California. Brown was a Co-Founder and former Chief Communication Officer of

25   Constellation, and he currently serves as the Company’s Global Community Architect.

26          80.     Defendants John Doe 1-10 are persons who participated in the wrongdoing alleged

27   herein but whose identities are currently unknown to Plaintiffs. Plaintiffs will identify the John

28   Doe Defendants through discovery of Constellation and/or the Individual Defendants.


                                          CLASS ACTION COMPLAINT
         Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 14 of 55




 1                                     JURISDICTION AND VENUE

 2           81.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

 3   §1332 because: (1) there are 100 or more (named or unnamed) class members; (2) there is an

 4   aggregate amount in controversy exceeding $5,000,000, exclusive of interest or costs; and (3) there

 5   is minimal diversity because at least one Plaintiff and Defendants are citizens of different states.

 6   This Court has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. §1367.

 7           82.     This Court may exercise jurisdiction over Defendants because Constellation is a

 8   citizen of this State and District and maintains its principle place of business in this District, has

 9   continuous and systematic contacts with this District, does substantial business in this State and

10   within this District, and engages in unlawful practices in this District as described in this

11   Complaint, so as to subject itself to personal jurisdiction in this District, thus rendering the exercise

12   of jurisdiction by this Court proper and necessary.

13           83.     Venue is proper in this judicial District pursuant to 28 U.S.C. §1391(b) because

14   Constellation is headquartered and operates in this District, therefore, a substantial part of the

15   events or omissions giving rise to the claims alleged herein occurred in this District.

16           84.     Division Assignment:       This action should be assigned to the San Francisco

17   Division of this Court, as the Company’s principal place of business is in San Francisco,

18   California, under Local Rule 3-2(d).

19                                      FACTUAL ALLEGATIONS

20           Constellation Background

21           85.     Constellation’s business purportedly provides cybersecurity for large data sets and

22   sources. The Company offers “a software infrastructure tool that removes the financial and

23   organizational cost of insecure data pipelines and bad data. It provides a secure and tamper-proof

24   audit trail that simultaneously validates your data.”2

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             https://icoholder.com/en/constellation-network-21562 (last visited Oct. 18, 2021).

                                          CLASS ACTION COMPLAINT
         Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 15 of 55




 1           86.    According to the Company, its goal is to “build a technological world where truth

 2   is apparent, power is fairly distributed and reputation matters.”3

 3           87.    On June 15, 2018, Constellation held its ICO, selling 720,000,000 ERC-20 DAG

 4   Tokens for a total of $33.7 million. ERC-20 DAG Tokens are blockchain-based assets that are

 5   created using the Ethereum blockchain. After an ERC-20 token is created, it can be traded, spent,

 6   or otherwise transacted with.

 7           88.    The ERC-20 DAG Tokens sold in this ICO represented 18% of the DAG tokens

 8   available.4

 9           89.    The ERC-20 DAG Tokens were sold pursuant to a “whitepaper.” Whitepapers in

10   cryptocurrency are documents released by the founders of the project that gives investors technical

11   information about its concept, and a roadmap for how it plans to grow and succeed. The

12   Constellation whitepaper was entitled “Constellation, a Blockchain Microservice Operating

13   System” and nowhere mentioned that the ERC-20 DAG Tokens would be subject to swap onto the

14   Constellation mainnet.

15           90.    Following the ICO, the Constellation community was abuzz with rumors that

16   Constellation’s then-CEO, Defendant Brendan Playford, inappropriately used the millions of

17   dollars that were raised in the ICO as his personal piggybank to day trade cryptocurrencies,

18   eventually losing a significant portion of it.

19           91.    Defendant Playford has a long track record of being publicly acknowledged as

20   having “been involved in the crypto sector as a miner, trader, and data scientist.”5

21           92.    Defendant Playford has also made public statements indicative of someone that

22   closely monitors detailed information about the cryptocurrency trading market. For example, on

23   April 12, 2018 (just two months before the Constellation ICO) Defendant Playford wrote an email

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25   3
             LCX Press Release, Constellation Network Chooses LCX as Partner (Mar. 28, 2021),
     https://www.prnewswire.com/news-releases/constellation-network-chooses-lcx-as-partner-
26   301257193.html.
     4
             All transactions in the ERC-20 DAG Token are recorded on the ethereum blockchain,
27   available at https://etherscan.io/token/0xa8258abc8f2811dd48eccd209db68f25e3e34667.
     5
28           Nulltx, What Is Constellation Cryptocurrency, BITNEWSBOT (June 28, 2018),
     https://bitnewsbot.com/what-is-constellation-cryptocurrency-nulltx/ (emphasis added).

                                          CLASS ACTION COMPLAINT
         Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 16 of 55




 1   to MarketWatch for an article entitled, “Bitcoin trading volume hits record high.”6 With no

 2   introduction or preamble, Defendant Playford is quoted as gratuitously saying: “Over the past two

 3   weeks there has been a steady increase in short positions with people betting against the price of

 4   bitcoin. This was up until yesterday the total number of open bitcoin short positions on Bitfinex

 5   reached a 6-month high of 40,000 open shorts, while the price remained in range.”7

 6           93.    In a different article that same day on whether bitcoin’s then-recent gains were the

 7   result of a trading “short squeeze,” Defendant Playford’s email is quoted again.8 He expands

 8   further on the technical analysis of bitcoin’s trading activity, stating: “Further, the long/short ratio

 9   on bitcoin hit a record low of 0.80 and started to recover, which indicates that short risk is

10   increasing and more people in the market are gaining confidence in long positions in bitcoin. . . .

11   This is still early, and the market remains in the long-term downtrend.”9

12           94.    Following Constellation’s ICO, Defendant Playford continued to demonstrate his

13   more-than-casual interest in highly speculative crypto trading. For example, on September 8,

14   2018, Defendant Playford shared the “Ethereum/USDshort crypto chart” on Twitter, saying:

15   “Around 100k or ~40% of all open shorts on $ETH opened under $290. Seems like a pretty big

16   target to me.”10

17           95.    Throughout December 2018, despite having a company to run with its coffers

18   supposedly filled after a successful ICO (i.e., Constellation), Defendant Playford’s only tweets

19   were about speculation in the broader cryptocurrency market, price targets and trading volume.

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     6
             Aaron Hankin, Bitcoin trading volume hits record high, MARKETWATCH (Apr. 12, 2018),
24   https://www.marketwatch.com/story/bitcoin-trading-volume-hits-record-high-2018-04-12.
     7
25           Id.
     8
             Aaron Hankin, Is bitcoin’s biggest gain in 2 months a short squeeze or a change in
26   sentiment?, MARKETWATCH (Apr. 12, 2018), https://www.marketwatch.com/story/is-bitcoins-
     biggest-gain-in-2-months-a-short-squeeze-or-a-change-in-sentiment-2018-04-12.
27   9
             Id.
28   10
             https://twitter.com/BrendanPlayford/status/1038564874727632903 (last visited Oct. 18,
     2021).
                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 17 of 55




 1   On December 2, 2018, he retweeted a post about “Bitcoin Market Sentiment.”11 Then on

 2   December 7, 2018, Defendant Playford announced that “$BTC and $ETH near-term target hit.”12

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 9   The following day on December 8, Defendant Playford tweeted his concerns about weak volume

10   in the cryptocurrency market: “Bounce volume not looking great. We still need a follow through.

11   Lots of thin air if we do not hold above here. $BTC $ETH”13 On December 13, 2018, Defendant

12   Playford congratulated himself on his ability to predict the cryptocurrency market’s price action

13   by giving the following response to an earlier tweet of his from January 1, 2018:14

14            96.    Defendant Wyatt Meldman-Floch knew, or should have known, about Defendant

15   Playford’s trading activities with the Constellation ICO proceeds but did nothing about it.

16   Importantly, Defendants Meldman-Floch and Playford have a separate, long-standing relationship

17   outside of their work together at Constellation. For example, Defendants Meldman-Floch and

18   Playford were the founders of another company called Rakugo, which claimed to be building a

19   decentralized publishing platform. Defendants Meldman-Floch and Playford also served as

20   Rakugo’s CEO and CTO, respectively.

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     11
              https://twitter.com/CryptoCoq/status/1069247988445384704 (last visited Oct. 18, 2021).
25   12
              https://twitter.com/BrendanPlayford/status/1071100701638422528 (last visited Oct. 18,
26   2021).
     13
              https://twitter.com/BrendanPlayford/status/1071281663072583680 (last visited Oct. 18,
27   2021).
     14
28            https://twitter.com/BrendanPlayford/status/1073318212354199553 (last visited Oct. 18,
     2021).

                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 18 of 55




 1          97.     Rakugo held an ICO from August 19, 2017 to September 19, 2017,15 the

 2   surrounding circumstances of which bear an eerie similarity to the Constellation ICO. Upon

 3   information and belief, after taking investors’ money during the Rakugo ICO, Defendants

 4   Meldman-Floch and Playford inexplicably returned the money three weeks later. DAG investors

 5   on the cryptocurrency forum Bitcointalk.org claimed that Rakugo executives like Defendants

 6   Meldman-Floch and Playford “were trading with [the proceeds of the Rakugo ICO] for profit

 7   during the time we all waited to get our tokens back.”16

 8          98.     Around July 2019, Defendant Playford inexplicably left Constellation and stepped

 9   down as the Company’s CEO.

10          99.     Defendants did not formally acknowledge Defendant Playford’s departure until

11   months later. Only after investors demanded an official response did Defendant Brown finally

12   provide an explanation, albeit a vague and opaque one.

13          100.    Specifically, on October 30, 2019, after an investor wrote to the Constellation

14   Telegram group that investors had “a right to [k]now as to why Brendan Playford is no longer

15   CEO or part of the constellation team[,]”17 Defendant Altif replied:

16          Brendan is stepping down as the CEO of Constellation Labs and as a member of
            the Constellation Foundation board to focus his attention on his passion for the
17          consumer adoption of blockchain technology in developing economies and nations.
            Constellation has been restructuring the organization where the founders empower
18          cross departmental alliances and decision-making. The company has named Ben
            Jorgensen CEO and Brendan’s tokens remain with the foundation.
19
            As a result, Brendan sees an opportunity to leverage his strengths to other
20          blockchain and community based initiatives. Given his strengths that include
            product development, growth and design, as well as engaging with a broad
21          community, he sees the opportunity to support Constellation and the blockchain
            space as a whole while not being a part of the day to day operations. Stepping back
22          from Constellation will allow the organization to focus on building and deploying

23

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     15
25            In Depth – What is Rakugo – An Ethereum based content publishing platform, STEEMIT,
     https://steemit.com/blockchain/@conradhann/in-depth-what-is-rakugo-an-ethereum-based-
26   content-publishing-platform (last visited Oct. 18, 2021); see also https://bitcointalk.
     org/index.php?topic=2044732.0 [Rakugo profile] (last visited Oct. 18, 2021).
27   16
              https://bitcointalk.org/index.php?topic=2702538.msg29143698#msg29143698        (last
     visited Oct. 18, 2021).
28   17
              https://t.me/constellationcommunity/80717 (last visited Oct. 18, 2021).

                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 19 of 55




 1          the Constellation mainnet. Constellation wishes Brendan the best in his future
            endeavors.18
 2
            101.    Notably, Defendant Altif did not provide any explanation as to why Defendant
 3
     Playford – who was supposedly leaving on amicable terms – would seemingly abandon his DAG
 4
     tokens (presumably worth hundreds of thousands, if not millions, of dollars) and freely return them
 5
     to the Company.
 6
            102.    When Constellation investors subsequently reached out to the Constellation team
 7
     via the Company’s Telegram social media account to ask about the specific circumstances
 8
     surrounding Playford’s departure, the Constellation administrators immediately banned these
 9
     investors from the Telegram group and accused them of trying to spread so-called “F.U.D.” in an
10
     effort to silence and discredit the investors seeking to gain access to highly significant, undisclosed
11
     information related to the Company.19
12
            103.    As of the filing of this action, Constellation has made no announcement to investors
13
     regarding the fate of the $33.7 million ICO investment.
14
            104.    Following Defendant Playford’s departure, the remaining Company executives,
15
     including Defendants, began plotting ways to recoup the lost ICO proceeds without publicly
16
     disclosing what had occurred.
17
            105.    Defendants’ first move was to downsize drastically while simultaneously hiring a
18
     group of freelance online cryptocurrency promotors known as “Satsgang”20 to fraudulently
19
     promote the DAG tokens to unsuspecting investors.
20
            106.    Upon information and belief, many of Constellation’s employees left the Company
21
     as a consequence of Defendant Playford’s misuse of Company funds. For example, at least three21
22

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24   18
              https://t.me/constellationcommunity/80721 (last visited Oct. 18, 2021).
     19
25            “F.U.D.” is an acronym for fear, uncertainty, and doubt. Those accused of spreading FUD
     are generally viewed negatively by the cryptocurrency community.
26   20
              The group known as Satsgang has since rebranded itself as the “Spectre Grp” in an apparent
     effort to distance themselves from any associations with former Satsgang activities.
27   21
              Constellation’s VP of Operations, Emily Arth, does not maintain a Linkedin profile. As of
28   the filing of this action, Ms. Arth’s other public social media indicates that she has not posted
     anything about Constellation since 2018.

                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 20 of 55




 1   of Constellations Vice Presidents left the Company in the lead up to Defendant Playford’s

 2   departure around July 2019: VP of Marketing, Zac Russell (May 2019);22 VP of Product, Brion

 3   Hickey (June 2019);23 and VP of Engineering, Ryle Goehausen (July 2019).                Similarly,

 4   Constellation’s Lead Product Designer, Giovanni Valdenegro and Marketing Manager, Gina

 5   Rubino left Constellation between the ICO and Defendant Playford’s official stepping down.

 6          107.    Even Defendant Altif Brown, Constellation’s Chief Communications Officer, has

 7   been demoted on the Company’s website to an “Advisor,” indicating that he is no longer a full-

 8   time employee of the Company.24

 9          108.    Meanwhile, as the Company was jettisoning most of its employees, Defendants

10   simultaneously entered into an arrangement with a group of shills-for-hire, the notorious Satsgang,

11   to pump the price of the Company’s ERC-20 DAG Tokens.

12          109.    Two of Satsgang’s founders, “Bitcoin Brown” and “Lucky” actively promoted the

13   DAG tokens on Twitter, Telegram, and other platforms. For example, on July 30, 2019, Twitter

14   user @bitcoin_brown – who’s profile bio indicates that he is a member of the Spectre Grp –

15   tweeted about how DAG’s price chart (which was attached to the tweet) was “really impressive

16   [over] the past month, from heavy accumulation to continuous uptrend.”25             Notably, the

17   “#satsGang” hashtag was used in this post promoting DAG’s potential for upward price

18   movement.26

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     22
24           https://www.linkedin.com/in/zac-russell-62b2a923 [Zac Russell LinkedIn profile] (last
     visited Oct. 18, 2021).
25   23
             https://www.topionetworks.com/people/brion-hickey-5c050a7c843bac303717db03
     [Brion Hickey career profile] (last visited Oct. 18, 2021).
26   24
             https://constellationnetwork.io/company/about/ (last visited Oct. 18, 2021).
27   25
             https://mobile.twitter.com/bitcoin_brown/status/1156111462412300289 (last visited Oct.
     18, 2021).
28   26
             Id.

                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 21 of 55




 1            110.    Similarly, on October 13, 2019, “Lucky” – a purported “cryptocurrency analyst” –

 2   also touted the “impressive returns” (e.g., “600%”) that DAG investors could receive “if you were

 3   patient.”27 Lucky’s bio also includes the #satsGang hashtag promotion.

 4            111.    On January 17, 2020, Bitcoin Brown announced on Twitter that the “Bull run” was

 5   “confirmed” by Satsgang and listed several crypto-related projects including “$DAG.”28

 6            112.    Satsgang member, Dread Bongo, promoted Defendants’ March 12, 2020 message

 7   as an “Amazing show of support to the $DAG community” on Twitter, tagging the Constellation

 8   company account and the individual Twitter accounts of Defendants Jorgensen, Goldmann,

 9   Diggles, and Meldman-Floch in this posted.29

10            113.    Constellation did not disclose that these so-called analysts and crypto community

11   members were given massive amounts of DAG tokens and/or other consideration to promote

12   Constellation.

13            114.    Defendants instead used Satsgang to engage in dubious promotion tactics to create

14   hype around the DAG tokens, and in turn, create artificial buzz to lure in new investors.

15            115.    First, Defendants and Satsgang identified any possible upcoming announcements

16   for Constellation – regardless of their significance or importance – that could be used to promote

17   the DAG tokens they held along with Defendants. Satsgang then exaggerated and overstated these

18   announcements to investors in an effort to inflate the token’s price.

19            116.    For example, with the DAG tokens, Constellation and Satsgang promoted an

20   alleged “Partnership” the Company entered into with the United States Air Force. In truth this

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     27
             https://coin-turk.com/2019-yilinda-en-cok-yukselen-altcoinler?doing_wp_cron=1633566
24   775.3417110443115234375000; see also
     https://m.facebook.com/login.php?next=https%3A%2F%2Fm.facebook.com%2Fpages%2Fcateg
25   ory%2FProduct-Service%2F813131545525521%2F&refsrc=deprecated&_rdr (last visited Nov.
     2, 2021)
26
     28
              https://twitter.com/bitcoin_brown/status/1218167632484012032 (last visited Oct. 18,
27   2021).
     29
28          https://twitter.com/dreadbong0/status/1238157818903044096?lang=en (last visited Oct.
     18, 2021).

                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 22 of 55




 1   partnership was nothing more than a Phase 1 small business innovation research (SBIR) grant that

 2   over 400 other companies also received on the same day.

 3          117.      Similarly, Constellation promoted an alleged “tier” partnership the Company

 4   supposedly entered into with Amazon Web Services (“AWS”). One investor inquired directly

 5   with AWS about this partnership with the Company, and after investigating the question, an AWS

 6   representative confirmed that “constellation labs are not a tier AWS partner.”30

 7          118.      Constellation also promoted – via Satsgang member, “Vito” – a partnership with

 8   Splunk. On June 10, 2020, Vito wrote an article that was published on Medium, purporting to

 9   answer “a lot of questions around the unannounced Splunk x Constellation partnership” and to

10   explain how the Company’s HyperGraph Transport Protocol (“HGTP”) was implicated by the

11   partnership.31    This article claimed, among other things, that Constellation’s HGTP was a

12   “revolutionary piece of technology” and a “foundation layer” for Constellation.         Vito also

13   concluded that “Even more value will be introduced with the applications built out on-top of the

14   HGTP by the Constellation Team and others.”32 Notably, an examination of Vito’s Medium user

15   profile reveals that the only article written by Satsgang member Vito is this one promoting a

16   Constellation partnership.33

17          119.      Satsgang promoted these, and other similar, misleading announcements on their

18   Telegram, Twitter, and Reddit accounts.

19          120.      Investors in online cryptocurrency forums described the relationship between

20   Constellation and Satsgang (including Bitcoin Brown and Lucky) as follows:

21          Constellation has 15 node operators and they get 20 MILLION DAG EACH per
            year! With average dag price last 12 months that’s $280,000 per satsgang member
22          per year and $4,200,000 total per year. Only 3-4 get paid for the tech contribution,
            but the rest that got this sweetheart deal from constellation are satsgang members
23          for doing “marketing” on twitter being admins on telegram. On top of that, they
            get more payment for projects like making shitty amateur videos for dag. Satsgang
24          are dumping hard on constellation bagholders and truly fuck them over. All this

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     30
           https://i.redd.it/jdi05386pr871.jpg (last visited Oct. 18, 2021) (emphasis in original).
26   31
           Vito, HyperGraph Transport Protocol, MEDIUM.COM (June 10, 2020), https://medium.com
27   /@armedvito/hypergraph-transport-protocol-180302fcd731.
     32
           Id.
28   33
           See https://medium.com/@armedvito (last visited Oct. 18, 2021).

                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 23 of 55




 1            was admitted by constellation admins in their telegram group, but later deleted
              when they realized their blunder. Normy dag bagholders are getting so fucked over
 2            by these scammers.

 3            Most well-known satsGang members and their alt accounts are: Bitcoin Brown,
              Lucky, Headroom, _RN03xx_, Denny Da Rocket, papousse 47, Moonshot Josh,
 4            Steven Toast, Le Chiffre Rambo, Bazerka, FauxPho, Adouble212, Johny Zcash,
              Rufys, Tyler Durden, vito, Braggo, Jonny Reid, [D]read Bongo, Johnny etc., but
 5            there are more.34
 6
              121.   Another investor on the same thread echoed that sentiment:
 7
              One stupid satsgang mod admitted that satsgang was behind virtually all the nodes
 8            as a big thank you for their “promotional work”, in reality, ass-kissing, but soon
              realized his error and deleted everything. After that, anyone even hinting of asking
 9            about who’s behind the nodes, selection process etc, get kicked out immeadetly.
              Ordinary investors are treated like paypigs with zero rights and you have a very
10            clear in-group and out-group division. Everyone that is not in the dag team or
              satsgang belong to the out-group (paypigs)
11
              More comedy gold from the Satsgang and Constellation's telegram channels.
12            Admins desperately deny that they are from Satsgang, despite every idiot can go to
              https://t(d0t)me/SPECTRE_GRP and see for themselves that virtually ALL their
13            admins are from satsgang and what Ben believes is the #bestcommunityincrypto is
              in reality 80% satsgang pumpers&dumpers&scammer talking to each other while
14            banning anyone that could contribute to constellation and thereby challange
              Satsgangs monopoly on dag handouts, as some kind of desperate welfare queens.
15
              Satsgang admin idiots even deny that they are drowning in handouts from
16            constellation for the “marketing” and “promotional work” aka desperate pumping
              and dumping, but if anyone asks about satsgang and 1,6 MILLION DAG per month
17            nodes or if anyone can see the wallet transfers, - satsgang drama queens will
              instaban. They say that Constellation paypigs are not “investors” but just some
18            random cucks holding utility tokens with no right to ask satsgang members
              anything. Gee, wonder why the price is falling like a rock and their community is
19            shit.35
              122. Upon information and belief, Constellation Director Adriaan Mellegers is also the
20
     Satsgang member known as “Headroom.” Satsgang founder, Bitcoin Brown, in the following
21
     tweet from January 16, 2020, bragged about the success of “#satsgang” and tagged, upon
22
     information and belief, various Satsgang members, including one member with the handle
23
     “@dagchadheadroom.” 36
24

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     34
              https://warosu.org/biz/thread/S20043499 (last visited Oct. 18, 2021).
27   35
              Id.
     36
28            https://twitter.com/bitcoin_brown/status/1217984439600533504 (last visited Oct. 18,
     2021).

                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 24 of 55




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14          123.    Twitter user “@armedvito” was also tagged in this tweet as “#satsgang” member.

15          124.    That same day, an account named “Headroom.eth” responded to the Bitcoin Brown

16   tweet as follows: 37

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24          125.    Notably, the profile page for Adriaan Mellegers on the Medium.com website is

25   directly linked to a profile for “Headroom.”38 Moreover, Mellegers profile has only two followers:

26

27   37
           http://www.crossvideodays.com/hashtag/satsGang?src=hash (last visited Oct. 18, 2021).
     38
28         Significantly, Mellegers’ profile address has “@headroom” in the url. See https://medium
     .com/@headroom_eth. (last visited Oct. 15, 2021).

                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 25 of 55




 1   a member named Ashish and a member named Headroom.39 Conversely, the Headroom profile

 2   on Medium also has only two followers: Anish and Mellegers.40 Finally, both the Mellegers and

 3   Headroom profiles have the same image for their respective profile pictures/avatar.

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20          126.   Up until early October 2021, Mellegers was featured on the Constellation website

21   as being a member of the “Constellation Core Team” and listed as the Company’s “Product

22   Designer & Director.”41

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26   39
             See https://medium.com/@headroom_eth/followers (last visited Oct. 18, 2021).
27   40
             Id.
     41
28           https://web.archive.org/web/20210619074934/https://constellationnetwork.io/company
     /about/ (last visited Oct. 18, 2021).

                                       CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 26 of 55




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16          127.    Constellation’s current website has scrubbed any reference to or connection with

17   Mellegers, apparently in an attempt to distance Constellation from its association with Satsgang.

18          128.    At least one member of Satsgang’s successor Spectre Grp currently serves as an

19   administrator of Constellation’s Telegram account. Various other Satsgang members actively post

20   in the Constellation Telegram group.

21          DAG Token Swap

22          129.    In the months and years following Constellation’s ICO, the Company posted

23   numerous spam-like announcements on its website (i.e., so-called “updates” that had little to no

24   substance other than promises of “big” things in Constellation’s future). And Satsgang amplified

25   the noise by overly hyping these announcements as being significant catalysts for positive DAG

26   token price movement.

27          130.    Importantly, while Defendants were willing to provide information about relatively

28   inconsequential events for Constellation on a monthly basis, they were conspicuously silent in the


                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 27 of 55




 1   lead up to the Token Swap. Whatever information about the Token Swap that was provided by

 2   Defendants was either scant, incorrect, or narrowly disseminated such that it would be unlikely to

 3   be seen or acted upon by Plaintiffs and other Constellation ECR-20 DAG Token investors.

 4          131.    For example, on December 20, 2019, Defendant Goldmann first posted the “Token

 5   Swap Information” on the Company’s website, which indicated that “[t]he swap is planned for the

 6   27th of January 2020.”42

 7          132.    That post also provided investors with a hyperlink to a blog by Defendant

 8   Goldmann on another non-Company website that reported information about the Token Swap. But

 9   while the Company’s own website erroneously told investors that the swap was set to occur in

10   January 2020, the blog indicated that the swap would occur in April 2020.43

11          133.    Notably, in March 2020, the month prior to the scheduled Token Swap,

12   Constellation’s webpage provided zero official updates to investors.

13          134.    On March 12, 2020, the Constellation Twitter account, in response to the COVID-

14   19 pandemic that was sweeping the globe, posted the following message: “To the

15   #bestcommunityincrypto You are a truly amazing community and it shows especially in times like

16   this! Thank you! As a team our work is not impacted. Much of our work is decentralized anyway

17   and we are on target with all our efforts. Stay safe out there. $DAG #coronavirus”44

18          135.    In April 2020, Constellation only provided a single so-called “update” to investors.

19   In particular, on April 22, 2020, just one week before the swap was scheduled to occur, Defendant

20   Goldmann posted a “Token Swap Update” on the Constellation website that contained virtually

21   no information. The entire three-sentence message is as follows:

22          Token Swap – 29th April 2020 6am UTC What an amazing few years this has been
            as we have built an incredibly vibrant and intelligent community like no other. WE
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     42
26           See Mathias Goldman, Token Swap Information, Constellation (Dec. 20, 2019),
     https://constellationnetwork.io/token-swap-information/.
27   43
             See id.
     44
28           https://twitter.com/Conste11ation/status/1238149453606838274 (last visited Oct. 18,
     2021).

                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 28 of 55




 1          ARE THE FUTURE and it starts with the Mainnet Swap. This is a historical
            moment for all of us and for.45
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 3          136.    That same day Defendant Jorgenson posted an “update” video on Constellation’s

 4   YouTube page regarding the token swap. This video was hardly viewed by the Constellation

 5   community and investors.46

 6          137.    Constellation did not provide sufficient or direct communications about the Token

 7   Swap to all of its investors that purchased and held the Company’s ERC-20 DAG Tokens prior to

 8   April 2020 despite having the ability to identify these investors. In sum, Plaintiffs and other

 9   members of the class did not receive adequate notice of the Token Swap.

10          The Aftermath of the Token Swap

11          138.    Following the closing of the purposefully narrow window for the underpromoted

12   Token Swap, Constellation investors who were unaware that the Token Swap had occurred slowly

13   learned of the situation and made attempts to contact Constellation in order to participate in the

14   Token Swap. One of the most common methods these investors used to reach out to the Company

15   was through the Company’s official Telegram account.

16          139.    Constellation provided a near uniform response to all such inquiries from their

17   investors about retroactively participating in the Token Swap. First, Constellation/Satsgang

18   administrators would tell ERC-20 Token investors both literally and figuratively: “you snooze you

19   lose.” Occasionally, Constellation would elaborate by saying that there was “nothing” the

20   Company could do. Notably, Constellation shamelessly relayed that false statement to several of

21   its earliest investors, who provided significant funding to Constellation for its operations. Without

22   these early investors, the Company could not have started and would be unable to continue

23   operating.

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26           See Mathias Goldman, Token Swap Update, Constellation (Apr. 22, 2020),
     https://constellationnetwork.io/2020/04/.
27   46
             As of the filing of this Complaint, this video only has around 1,500 views. Notably,
     Constellation’s YouTube account has approximately 3,800 subscribers. It appears then that less
28   than half of Constellation’s target audience actually saw this message about the Token Swap, even
     a year and a half after the video’s initial posting.
                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 29 of 55




 1          140.    Next, like clockwork, Constellation would ban or block these investors from

 2   communicating with the Company further via Telegram or by email.

 3          141.    Simultaneously, Constellation continued to use the services of Satsgang to promote

 4   DAG and artificially increase the price of its tokens even after the Token Swap. But this promotion

 5   compounded the problems with the Token Swap. In particular, after the Token Swap period

 6   closed, there were millions of unswapped ERC-20 DAG Tokens leftover.

 7          142.    By refusing to grant investors’ requests to participate in the Token Swap,

 8   Defendants created a secondary market for the unswapped ERC-20 DAG Tokens. These ERC-20

 9   DAG Tokens are currently available for trading on the various cryptocurrency exchanges and are

10   easily confused with the Mainnet DAG Tokens as they both have the DAG/Constellation name

11   affiliation and remain tethered to each other on the Ethereum blockchain.

12          143.    Furthermore, the ERC-20 DAG Tokens have a connection to the Mainnet DAG

13   Tokens via the Company’s website which is listed as the “Official Site” for the ERC-20 on

14   Etherscan, a digital asset search platform that allows users to track and view transactions that have

15   occurred and are recorded on the Ethereum blockchain ledger.47 Additionally, the Mainnet DAG

16   Tokens are still tethered to the ERC-20 DAG Tokens on the Ethereum blockchain.

17          144.    Defendants could have closed out their portion of the Ethereum blockchain that

18   used the ERC-20 DAG Tokens entirely prior to the Token Swap, or alternatively simply not

19   tethered the ERC-20 DAG Tokens to the newly issued Mainnet DAG Tokens. Instead, Defendants

20   opted to allow the secondary market for the ERC-20 DAG Tokens to flourish and continue to lure

21   in investors who end up mistakenly purchasing the worthless ERC-20 DAG Tokens.

22          145.    Furthermore, Defendants’ continued use of Satsgang shill accounts to promote its

23   DAG tokens after the Token Swap made it difficult for investors to understand that they should

24   purchase the Mainnet DAG Tokens and not the ERC-20 DAG Tokens if they wanted to invest in

25   the active Constellation network.

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            https://etherscan.io/token/0xa8258abc8f2811dd48eccd209db68f25e3e34667 (last visited
     Oct. 18, 2021).
                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 30 of 55




 1          146.    Constellation had and continues to have the ability and means to allow investors to

 2   participate in the Token Swap, but Defendants purposefully chose to exclude Plaintiffs and class

 3   members for their personal gain. Constellation continues to have the ability to swap the Unused

 4   Mainnet DAG Tokens for the unswapped ERC-20 DAG Tokens but refuses to do so in order to

 5   retain their significant monetary windfall.

 6          Constellation Purposefully Designed and Profited from Its Improper Conduct

 7          147.    Constellation is fully aware that many of its investors did not receive adequate

 8   notice and thus were unable to participate in the Token Swap. As noted above, the Company had

 9   direct contact from such investors, but instead of granting their repeated requests, Constellation

10   rejected and silenced their investors. By deleting comments left by their investors and banning

11   them, Defendants were able to conceal the consequences of the Token Swap from Plaintiffs and

12   members of the Class.

13          148.    Additionally, Defendants, like everyone else on the planet, were surely aware of

14   the COVID-19 pandemic that exploded during March and April of 2020. During the height of the

15   pandemic, Constellation’s website made zero posts in March 2020 and only one post in April 2020.

16   To the extent Constellation sent any emails concerning the Token Swap directly to investors, this

17   constituted only a small portion of the ERC-20 Token holders. The majority of early investors in

18   Constellation’s ERC-20 DAG Tokens did not provide their email addresses to the Constellation

19   team, but rather to the syndicators that were given allotments of the ERC-20 DAG Tokens to sell

20   on Constellation’s behalf.

21          149.    Despite the fact that ERC-20 Token investors were not given adequate notice and

22   were preoccupied with sickness, quarantines, lockdowns, childcare, and employment issues related

23   to the COVID-19 pandemic, Defendants purposefully chose not to delay or even extend the timing

24   of the Token Swap.

25          150.    Consequently, Constellation investors were at a severe disadvantage given

26   Defendants’ chosen timing for the Token Swap. Besides being virtually silent during the lead up

27   to the Token Swap, Constellation used a swapping process that was so onerous and overly

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                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 31 of 55




 1   complicated that certain investors were unable to complete the Token Swap process even while

 2   the brief swap period was open.

 3           151.   Constellation’s conduct after the Token Swap adds another layer to an already

 4   confusing situation. Constellation’s callous response to the investors that communicated with the

 5   Company about their respective (yet uniform) dilemma regarding being unable to participate in

 6   the Token Swap, coupled with the complete silencing of any questions about the Token Swap,

 7   indicate that Defendants purposefully designed the schedule and process for the Token Swap to be

 8   narrow and onerous in order to exclude investors. Then once they had an artificially created

 9   excuse, Defendants could coldly dismiss any complaints from Plaintiffs and the Class about the

10   Token Swap process while falsely pretending that there was “nothing” the Company could do to

11   make their investors whole.

12           152.   Indeed, Defendants arranged the Token Swap in order to retain the Mainnet DAG

13   Tokens that were minted for the Token Swap but were not swapped for the corresponding ERC-

14   20 DAG Tokens (the “Unused Mainnet DAG Tokens”).

15           153.   Constellation misleadingly told Plaintiffs that there is “nothing” the Company can

16   do to remedy this situation. Importantly, Constellation does not disclose what it did with the

17   Unused Mainnet DAG Tokens. In truth, only two things could have occurred: (1) Constellation

18   “burned” the Unused Mainnet DAG Tokens, rendering them worthless; or (2) kept the Unused

19   Mainnet DAG Tokens for themselves. Either way, Defendants benefit at the expense of Plaintiffs

20   and the Class members. On the one hand, burning the Unused Mainnet DAG Tokens decreases

21   the overall supply of DAG tokens thereby increasing the value of Defendants’ DAG holdings. On

22   the other hand, Defendants would increase the size (and corresponding value) of their DAG

23   holdings by simply taking the Unused Mainnet DAG Tokens for themselves.

24           154.   Constellation’s suggestions of futility and statements that there is nothing it can do

25   are false.

26           155.   Because Constellation can identify the eligible investors who did not participate in

27   the Token Swap and may in fact still have the Unused Mainnet DAG Tokens in its possession,

28   Constellation could simply open up the Token Swap period again. Constellation has set aside


                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 32 of 55




 1   hundreds of millions of Mainnet DAG tokens to be given as rewards for network participants for

 2   their contribution to the network. Alternatively, Constellation could mint new, replacement tokens

 3   for any that were burned.

 4          156.    On information and belief, Constellation – a highly sophisticated participant in the

 5   technology industry which monitors and tracks large data sets and sources – possesses other means

 6   and technology to determine which holders of ERC-20 DAG Tokens purchased those tokens prior

 7   to April 29, 2020.

 8          157.    Despite such means and technology, Constellation uniformly and consistently

 9   informs investors there is nothing that Constellation can do now that the Token Swap period has

10   expired. Constellation knows that representation is false.

11          158.    Constellation’s actions regarding the Token Swap, as set forth above, are

12   intentional and done for the purpose of increasing the size and/or value of Defendants’ DAG

13   holdings at the expensive of investors. This served Defendants’ larger goal of being able to recoup

14   a portion of the Company’s ICO funding that had been squandered by Defendant Playford.

15          159.    Simultaneously, Defendants’ promotional activities with Satsgang have misled new

16   investors into buying the unswapped ERC-20 DAG Tokens that are still available for purchase on

17   various decentralized cryptocurrency exchanges and are still associated with the Mainnet DAG

18   Tokens.

19          160.    As a direct and proximate result of Constellation’s conduct, misrepresentations, and

20   omissions described herein, Plaintiffs and Class members suffered damages including the amount

21   of the value of what the ERC-20 DAG Tokens would be worth had they been swapped for the

22   Mainnet DAG Tokens as part of the Token Swap.

23          161.    In sum, Defendants fall far short of their stated goal of building a world where

24   “truth is apparent, power is fairly distributed and reputation matters.”48

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27   48
             Press Release, Constellation Network Chooses LCX as Partner (Mar. 28, 2021),
     https://www.prnewswire.com/news-releases/constellation-network-chooses-lcx-as-partner-
28   301257193.html#:~:text=SAN%20FRANCISCO%2C%20March%2028%2C%202021,fintech%
     20company%20headquartered%20in%20Liechtenstein.
                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 33 of 55




 1                            TOLLING OF STATUTES OF LIMITATIONS

 2             162.   Plaintiffs and the Class members had no way of knowing about Defendants’

 3   conduct with respect to Defendant Playford’s conduct and Defendants’ response thereto.

 4             163.   Neither Plaintiffs nor any members of the Class, through the exercise of reasonable

 5   diligence, could have discovered the conduct alleged herein. Further, Plaintiffs and members of

 6   the Class did not discover and did not know of facts that would have caused a reasonable person

 7   to suspect that Defendants were engaged in the conduct alleged herein.

 8             164.   For these reasons all applicable statutes of limitations have been tolled by discovery

 9   rule with respect to the claims asserted by Plaintiffs and the Class.

10             165.   Additionally, by failing to disclose the circumstances surrounding Defendant

11   Playford’s departure and Defendants’ strategic responses thereto, Defendants concealed their

12   conduct and the existence of the claims asserted herein from Plaintiffs and the members of the

13   Class.

14             166.   Upon information and belief, Defendants intended their acts to conceal the facts

15   and claims from Plaintiffs and members of the Class. Plaintiffs and the members of the Class were

16   unaware of the facts alleged herein without any fault or lack of diligence on their part and could

17   not have reasonably discovered Defendants’ conduct. For this additional reason, any statute of

18   limitations that otherwise may apply to the claims of Plaintiffs or members of the Class should be

19   tolled.

20                                         CLASS ALLEGATIONS

21             167.   Plaintiffs bring this action, individually, and on behalf of a nationwide class,

22   pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3), defined as follows:

23             All persons who, during the Class Period, purchased Constellation’s ERC-20 DAG
               Tokens and were subsequently barred by Defendants from swapping the ERC-20
24             DAG Tokens to the Mainnet DAG Tokens.

25             168.   The Class Period is defined as the period between January 1, 2017 and the

26   commencement of this action.49

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28   49
            Plaintiffs reserve the right to expand or amend the Class Period based on discovery
     produced in this matter.
                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 34 of 55




 1          169.    Excluded from the Class are: (a) Defendants; (b) Defendants’ affiliates, agents,

 2   employees, officers and directors; (c) Plaintiffs’ counsel and Defendant’s counsel; and (d) the

 3   judge assigned to this matter, the judge’s staff, and any member of the judge’s immediate family.

 4   Plaintiffs reserve the right to modify, change, or expand the various class definitions set forth

 5   above based on discovery and further investigation.

 6          170.    Numerosity: Upon information and belief, the Class is so numerous that joinder of

 7   all members is impracticable. While the exact number and identity of individual members of the

 8   Class is unknown at this time, such information being in the sole possession of Constellation and/or

 9   third parties and obtainable by Plaintiffs only through the discovery process, Plaintiffs believe, and

10   on that basis allege, that the Class consists of at least hundreds of people. The number of Class

11   members can be determined based on Constellation’s and other third party’s records.

12          171.    Commonality: Common questions of law and fact exist as to all members of each

13   Class. These questions predominate over questions affecting individual Class members. These

14   common legal and factual questions include, but are not limited to:

15          a.      whether Constellation failed to inform investors about the circumstances involving

16                  Defendant Playford’s departure as CEO and what was done with the $33.7 million

17                  raised in the Company’s ICO;

18          b.      whether Constellation improperly engaged online promoters to misleadingly

19                  market DAG tokens;

20          c.      whether Defendants purposefully created a process for the Token Swap that was

21                  onerous and could only occur during a limited time in order to exclude as many

22                  ERC-20 DAG Token holders as possible from swapping those tokens for the

23                  Unused Mainnet DAG Tokens;

24          d.      whether Constellation provided inadequate notice of the Token Swap to ERC-20

25                  DAG Token investors;

26          e.      whether Constellation misrepresents that there is nothing that Constellation can do

27                  for investors wanting to swap ERC-20 DAG Tokens for Mainnet DAG Tokens after

28                  the DAG token swap period ended;


                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 35 of 55




 1          f.      whether Constellation burned the Unswapped Mainnet DAG Tokens;

 2          g.      whether Constellation’s conduct violates the state consumer protection statutes

 3                  asserted herein;

 4          h.      whether Constellation has been unjustly and wrongfully enriched as a result of its

 5                  conduct;

 6          i.      whether money and/or value of the Mainnet DAG Tokens that the Company

 7                  obtained as a result of the token swap rightfully belongs to Plaintiffs and Class

 8                  members;

 9          j.      whether Constellation should be required to return money it received as a result of

10                  the Token Swap to Plaintiffs and Class members;

11          k.      whether Constellation breached the implied covenant of good faith and fair dealing;

12                  and

13          l.      whether Plaintiffs have suffered damages, and, if so, the nature and extent of those

14                  damages.

15          172.    Typicality: Plaintiffs have the same interest in this matter as all Class members,

16   and Plaintiffs’ claims arise out of the same set of facts and conduct as the claims of all Class

17   members.      Plaintiffs’ and Class members’ claims all arise out Constellation’s uniform

18   misrepresentations, omissions, and unlawful, unfair, and deceptive acts and practices related to the

19   DAG Token Swap.

20          173.    Adequacy: Plaintiffs have no interest that conflicts with the interests of the Class

21   and are committed to pursuing this action vigorously. Plaintiffs have retained counsel competent

22   and experienced in complex consumer class action litigation. Accordingly, Plaintiffs and their

23   counsel will fairly and adequately protect the interests of the Class.

24          174.    Superiority: A class action is superior to all other available means of fair and

25   efficient adjudication of the claims of Plaintiffs and members of the Class. The injury suffered by

26   each individual Class member is relatively small compared to the burden and expense of individual

27   prosecution of the complex and extensive litigation necessitated by Constellation’s conduct. It

28   would be virtually impossible for individual Class members to effectively redress the wrongs done


                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 36 of 55




 1   to them. Even if Class members could afford individualized litigation, the court system could not.

 2   Individualized litigation would increase delay and expense to all parties, and to the court system,

 3   because of the complex legal and factual issues of this case. Individualized rulings and judgments

 4   could result in inconsistent relief for similarly situated individuals. By contrast, the class action

 5   device presents far fewer management difficulties, and provides the benefits of single adjudication,

 6   economy of scale, and comprehensive supervision by a single court.

 7           175.    Defendants have acted or refused to act on grounds generally applicable to the

 8   Class, thereby making appropriate final injunctive relief and corresponding declaratory relief with

 9   respect to the Class as a whole.

10                     CALIFORNIA LAW APPLIES TO THE ENTIRE CLASS

11           176.    California’s substantive laws apply to every member of the Class, regardless of

12   where in the United States the Class members reside.

13           177.    California’s substantive laws may be constitutionally applied to the claims of

14   Plaintiffs and the Class under the Due Process Clause, 14th Amend. §1, and the Full Faith and

15   Credit Clause, Art. IV §1 of the U.S. Constitution. California has significant contact, or significant

16   aggregation of contacts, to the claims asserted by Plaintiffs and all Class members, thereby creating

17   state interests that ensure that the choice of California state law is not arbitrary or unfair.

18           178.    Constellation’s headquarters and principal place of business is located in

19   California.    Upon information and belief, Constellation also owns property and conducts

20   substantial business in California, and therefore California has an interest in regulating

21   Constellation’s conduct under its laws. Constellation’s decision to reside in California and avail

22   itself of California’s laws, and to engage in the challenged conduct from and emanating out of

23   California, renders the application of California law to the claims herein constitutionally

24   permissible.

25           179.    California is also the state from which Constellation’s alleged misconduct

26   emanated. On information and belief, the decision-making regarding the parameters of DAG

27   Token Swap and the subsequent response thereto, occurred in and emanated from California. As

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                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 37 of 55




 1   such, the conduct complained of herein emanated from California. This conduct similarly injured

 2   and affected Plaintiffs and all other Class members.

 3             180.   The application of California laws to the Class is also appropriate under

 4   California’s choice of law rules because California has significant contacts to the claims of

 5   Plaintiffs and the proposed Class, and California has a greater interest in applying its laws here

 6   than any other interested state.

 7                                     FIRST CAUSE OF ACTION
                            Violation of the California Unfair Competition Law
 8                                     Cal. Bus. & Prof. Code §17200
                                    (On Behalf of the Nationwide Class)
 9

10             181.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth

11   herein.

12             182.   Plaintiffs Hansu Chu, Hio Fong Mak, Robert Como, Anthony DeGol, Philippe Lee,

13   Daniel Riceberg, Taylor Paur, Roger Lu, Jesse Smithnosky, Matt Szymaszek, and Zaheer Ahmed

14   are residents of the State of California.

15             183.   At all relevant times there was in full force and effect the California Unfair

16   Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200, et seq., which prohibits, inter alia,

17   “any unlawful, unfair, or fraudulent business act or practice” and “unfair, deceptive, untrue, or

18   misleading advertising.”

19             184.   Constellation also engaged in business acts and practices deemed “unfair” under

20   the UCL, because the conduct, statements, and omissions described above, and by knowingly and

21   intentionally creating an unreasonably onerous and short process to participate in the DAG Token

22   Swap, and by knowingly and intentionally retaining and/or burning the Mainnet DAG Tokens that

23   were specifically minted for the DAG Token Swap. Unfair acts under the UCL have been

24   interpreted using different tests, including : (1) whether the public policy which is a predicate to a

25   consumer unfair competition action under the unfair prong of the UCL is tethered to specific

26   constitutional, statutory, or regulatory provisions; (2) whether the gravity of the harm to the

27   consumer caused by the challenged business practice outweighs the utility of the defendant’s

28   conduct; and (3) whether the consumer injury is substantial, not outweighed by any countervailing


                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 38 of 55




 1   benefits to consumers or competition, and is an injury that consumers themselves could not

 2   reasonably have avoided. Defendant’s conduct is unfair under each of these tests.

 3             185.   As a direct and proximate result of Constellation’s unlawful, unfair, and deceptive

 4   practices, Plaintiffs and Class members suffered damages. Constellation’s activities with Satsgang

 5   and the Token Swap and concealment of the financial impact that the loss of the ICO funding due

 6   to Defendant Playford’s misappropriation had on the Company caused Plaintiffs and the Class

 7   members to purchase and/or hold the ERC-20 DAG Tokens when they otherwise would not have

 8   done so.

 9             186.   Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts or practices

10   by Constellation, to obtain restitution and disgorgement of all monies generated as a result of such

11   practices, and for all other relief allowed under California Business & Professions Code section

12   17200.

13             187.   Plaintiffs specifically seek restitution in the form of either (1) a one-for-one swap

14   of their ERC-20 DAG Tokens with the Unused Mainnet DAG Tokens; or (2) the monetary value

15   of the difference between the purchase price of the ERC-20 DAG Tokens and the price of the

16   Mainnet DAG Tokens at the time of the filing of this action.

17                                    SECOND CAUSE OF ACTION
                        Violation of the California Consumers Legal Remedies Act
18                                       Cal. Code Civ. Proc. §1770
                                    (On behalf of the Nationwide Class)
19

20             188.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth

21   herein.

22             189.   Plaintiffs Hansu Chu, Hio Fong Mak, Robert Como, Anthony DeGol, Philippe Lee,

23   Daniel Riceberg, Taylor Paur, Roger Lu, Jesse Smithnosky, Matt Szymaszek, and Zaheer Ahmed

24   are residents of the State of California.

25             190.   At all relevant times there was in full force and effect Cal. Civil. Code §1770, which

26   prohibits, inter alia, various methods of “unfair or deceptive acts or practices undertaken by any

27   person in a transaction intended to result or that results in the sale or lease of goods or services to

28   any consumer,” including, but not limited to, “[m]isrepresenting the affiliation, connection, or


                                           CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 39 of 55




 1   association with, or certification by, another” and “[r]epresenting that goods or services have

 2   sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that they do not

 3   have or that a person has a sponsorship, approval, status, affiliation, or connection that the person

 4   does not have.” Cal. Civil Code §1770(a)(3) & (5).

 5          191.    Constellation engaged in business acts and practices deemed “deceptive” because

 6   of the conduct, statements, and omissions described above, including, but not limited to, the

 7   following:

 8          (a)     knowingly and intentionally concealing the circumstances involving Defendant

 9                  Playford and his misuse of the $33.7 million raised in the Constellation ICO;

10          (b)     knowingly and intentionally using and/or failing to disclose the use of Satsgang

11                  online promotors to exaggerate the importance of various Company

12                  announcements, including but not limited to, so-called partnerships with the United

13                  States Air Force and Amazon Web Services, in an effort to manipulate and

14                  artificially inflate the price of the DAG tokens;

15          (c)     knowingly and intentionally creating an unreasonably onerous, short, and

16                  underpromoted process to participate in the DAG Token Swap in order to exclude

17                  as many ERC-20 DAG Token investors as possible and retain any unswapped

18                  Mainnet DAG Tokens; and

19          (d)     intentionally or recklessly creating a secondary market for the unswapped ERC-20

20                  DAG Tokens and failing to adequately warn investors against purchasing the

21                  unswapped ERC-20 DAG Tokens instead of the Mainnet DAG Tokens.

22          192.    As a direct and proximate result of Constellation’s unlawful, unfair, and deceptive

23   practices, Plaintiffs and Class members suffered damages. Constellation’s activities caused

24   Plaintiffs and the Class members to purchase and/or retain the ERC-20 DAG Tokens when they

25   otherwise would not have done so.

26          193.    Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts or practices

27   by Constellation, to obtain restitution and disgorgement of all monies generated as a result of such

28   practices, and for all other relief allowed under Cal. Civil Code §1780.


                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 40 of 55




 1             194.   Plaintiffs specifically seek restitution in the form of either (1) a one-for-one swap

 2   of their ERC-20 DAG Tokens with the Unused Mainnet DAG Tokens; or (2) the monetary value

 3   of the difference between the purchase price of the ERC-20 DAG Tokens and the price of the

 4   Mainnet DAG Tokens at the time of the filing of this action.

 5             195.   Plaintiffs additionally seek punitive damages under Cal. Civil Code §1770(a)(4).

 6             196.   Plaintiffs have complied with Cal. Civil Code §1780(d), which requires the

 7   concurrent filing of an “affidavit stating facts showing that the action has been commenced in a

 8   county described in this section as a proper place for the trial of the action.”

 9                                      THIRD CAUSE OF ACTION
               Violation of Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”)
10                                     Ch. 501, §211(1), Fla. Stat. Ann.
                                     (On behalf of the Nationwide Class)
11

12             197.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth

13   herein.

14             198.   Plaintiff Matthew Holye is a resident of the State of Florida.

15             199.   Chapter 501, Fla. Stat., FDUTPA is to be liberally construed to protect the

16   consuming public, such as Plaintiffs in this case, from those who engage in unfair methods of

17   competition, or unconscionable, deceptive or unfair acts or practices in the conduct of any trade or

18   commerce.

19             200.   Plaintiffs are “consumers” within the meaning of Fla. Stat. §501.203(7).

20             201.   By soliciting investor funds in the manner in which they did, Defendants engaged

21   in “trade and commerce” within the meaning of Fla. Stat. §501.203(8).

22             202.   While FDUTPA does not define “deceptive” and “unfair,” it incorporates by

23   reference the Federal Trade Commission's interpretations of these terms. The FTC has found that

24   a “deceptive act or practice” encompasses “a representation, omission or practice that is likely to

25   mislead the consumer acting reasonably in the circumstances, to the consumer’s detriment.”

26             203.   The federal courts have defined a “deceptive trade practice” as any act or practice

27   that has the tendency or capacity to deceive consumers and have defined an “unfair trade practice”

28


                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 41 of 55




 1   as any act or practice that offends public policy and is immoral, unethical, oppressive,

 2   unscrupulous, or substantially injurious to consumers.

 3          204.    Defendants’ deceptive and unfair trade practices include, but are not limited to, the

 4   following acts and omissions:

 5          (a)    knowingly and intentionally concealing the circumstances involving Defendant

 6                 Playford and his misuse of the $33.7 million raised in the Constellation ICO;

 7          (b)     knowingly and intentionally using and/or failing to disclose the use of Satsgang

 8                  online promotors to exaggerate the importance of various Company

 9                  announcements, including but not limited to, so-called partnerships with the United

10                  States Air Force and Amazon Web Services, in an effort to manipulate and

11                  artificially inflate the price of the DAG tokens;

12          (c)     knowingly and intentionally creating an unreasonably onerous, short, and

13                  underpromoted process to participate in the DAG Token Swap in order to exclude

14                  as many ERC-20 DAG Token investors as possible and retain any unswapped

15                  Mainnet DAG Tokens; and

16          (d)     intentionally or recklessly creating a secondary market for the unswapped ERC-20

17                  DAG Tokens and failing to adequately warn investors against purchasing the

18                  unswapped ERC-20 DAG Tokens instead of the Mainnet DAG Tokens.

19          205.    These acts and omissions constitute both deceptive and unfair trade practices

20   because the false representations and omissions made by Defendants have a tendency or capacity

21   to deceive consumers, such as Plaintiffs, into investing in the ERC-20 DAG Tokens and refusing

22   to exchange the unswapped Mainnet Tokens (which were minted precisely for a 1-to-1 swap of

23   available ERC-20 DAG Tokens) is immoral, unethical, oppressive, unscrupulous, or substantially

24   injurious to consumers.

25          206.    As a result of Defendants’ deceptive trade practices, Plaintiffs were deceived into

26   retaining functionally worthless cryptocurrencies and/or investing their cryptocurrency and/or fiat

27   currency with a company that functioned solely as an engine of fraud -- thus causing significant

28   economic damage to Plaintiffs.


                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 42 of 55




 1             207.   The materially false statements and omissions as described above, and the fact that

 2   this was a misleading investment, were unfair, unconscionable, and deceptive practices perpetrated

 3   on Plaintiffs which would have likely deceived a reasonable person under the circumstances.

 4             208.   Defendants were on notice at all relevant times that the false representations of

 5   material facts described above were being communicated to prospective investors (such as

 6   Plaintiffs) by their authorized agents.

 7             209.   As a result of the false representations and violations of the laws described above,

 8   Plaintiffs have been damaged by, among other things losing the true value of their invested

 9   cryptocurrency.

10             210.   Plaintiffs have also been damaged in other and further ways subject to proof at trial.

11             211.   Therefore, Defendants engaged in unfair and deceptive trade practices in violation

12   of Florida Statute Section 501.201, et seq.

13             212.   Plaintiffs specifically seek restitution in the form of either (1) a one-for-one swap

14   of their ERC-20 DAG Tokens with the Unused Mainnet DAG Tokens; or (2) the monetary value

15   of the difference between the purchase price of the ERC-20 DAG Tokens and the price of the

16   Mainnet DAG Tokens at the time of the filing of this action.

17             213.   Pursuant to Florida Statute Sections 501.211(1) and 501.2105, Plaintiffs are entitled

18   to recover from Defendants the reasonable amount of attorneys’ fees Plaintiffs have had to incur

19   in representing their interests in this matter.

20                                      FOURTH CAUSE OF ACTION
               Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act
21                                        815 Ill. Comp. Stat. Ann. 505
                                      (On behalf of the Nationwide Class)
22

23             214.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth

24   herein.

25             215.   Plaintiffs Timothy Barany and Scott Bohlman are residents of the State of Illinois.

26             216.   The ERC-20 DAG Tokens are commodities and thus constitute “merchandise”

27   under ILCS 505/1(b).

28             217.   Plaintiffs are “consumers” within the meaning of ILCS 505/1(e).


                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 43 of 55




 1          218.    Defendants engaged in “unfair or deceptive acts or practices” to the detriment of

 2   Plaintiffs as that term is defined by Section 505/2 of the Illinois Consumer Fraud and Deceptive

 3   Business Practices Act by Defendants’ use or employment of deception, fraud, false pretense, false

 4   promise, misrepresentation or the concealment, suppression or omission of any material fact,

 5   including but not limited to, in the following ways:

 6          (a)     by knowingly and intentionally concealing the circumstances involving Defendant

 7                  Playford and his misuse of the $33.7 million raised in the Constellation ICO;

 8          (b)     by knowingly and intentionally using and/or failing to disclose the use of Satsgang

 9                  online promotors to exaggerate the importance of various Company

10                  announcements, including but not limited to, so-called partnerships with the United

11                  States Air Force and Amazon Web Services, in an effort to manipulate and

12                  artificially inflate the price of the DAG tokens;

13          (c)     by knowingly and intentionally creating an unreasonably onerous, short, and

14                  underpromoted process to participate in the DAG Token Swap in order to exclude

15                  as many ERC-20 DAG Token investors as possible and retain any unswapped

16                  Mainnet DAG Tokens; and

17          (d)     by intentionally or recklessly creating a secondary market for the unswapped ERC-

18                  20 DAG Tokens and failing to adequately warn investors against purchasing the

19                  unswapped ERC-20 DAG Tokens instead of the Mainnet DAG Tokens.

20          219.    Plaintiffs have been economically damaged thereby and, as such, are entitled to

21   actual damages pursuant to ISCL 505/10a.

22          220.    Plaintiffs specifically seek restitution in the form of either (1) a one-for-one swap

23   of their ERC-20 DAG Tokens with the Unused Mainnet DAG Tokens; or (2) the monetary value

24   of the difference between the purchase price of the ERC-20 DAG Tokens and the price of the

25   Mainnet DAG Tokens at the time of the filing of this action.

26          221.    Plaintiffs additionally seek reasonable attorney’s fees and costs pursuant to ICLS

27   505/10a(c).

28


                                        CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 44 of 55




 1             222.   This action is properly before this Court since “[s]uch action may commenced in

 2   the county in which the person against whom it is brought resides, has his principal place of

 3   business, or is doing business, or in the county where the transaction or any substantial portion

 4   thereof occurred.” ISCL 505/10a(b).

 5                                     FIFTH CAUSE OF ACTION
                              Violations of the Nevada Consumer Fraud laws
 6                                             N.R.S. 41.6000
                                    (On behalf of the Nationwide Class)
 7

 8             223.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth

 9   herein.

10             224.   Plaintiffs Sean Getzwiller, Jeffrey Sluzinski, Todd Spafford, and Daniel Freeman

11   are residents and citizens of the State of Nevada.

12             225.   At all relevant times there was in full force and effect N.R.S. 41.600, which

13   provides that “[a]n action may be brought by any person who is a victim of consumer fraud.”

14   N.R.S. 41.600(1). “Consumer fraud” is defined as, among other things, a “deceptive trade

15   practice” enumerated under N.R.S. 598.0923. See N.R.S. 41.600(1)(e). According to Section

16   598.0915, a person engages in a “deceptive trade practice” when, in the course of business, the

17   person, inter alia, knowingly uses “an unconscionable practice” or “coercion, duress or

18   intimidation” in a transaction. N.R.S. 41.600(1)(d)-(e).

19             226.   Defendants engaged in an “unconscionable practice” to the detriment of Plaintiffs

20   as that term is defined by Section 41.600(2)(b) of the Nevada Revised Statutes, by (1) taking

21   advantage of the lack of knowledge, ability, experience, or capacity of Plaintiffs to a grossly unfair

22   degree and (2) arbitrarily or unfairly excluding the access of Plaintiffs to a good or service,

23   including but not limited to, in the following ways:

24             (a)    by knowingly and intentionally concealing the circumstances involving Defendant

25                    Playford and his misuse of the $33.7 million raised in the Constellation ICO from

26                    investors;

27             (b)    by knowingly and intentionally using and/or failing to disclose the use of Satsgang

28                    online promotors to exaggerate the importance of various Company


                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 45 of 55




 1                   announcements, including but not limited to, so-called partnerships with the United

 2                   States Air Force and Amazon Web Services, in an effort to manipulate and

 3                   artificially inflate the price of the DAG tokens;

 4           (c)     by knowingly and intentionally creating an unreasonably onerous, short, and

 5                   underpromoted process to participate in the DAG Token Swap in order to unfairly

 6                   exclude as many ERC-20 DAG Token investors as possible from accessing the

 7                   DAG Token Swap in order to retain any unswapped Mainnet DAG Tokens; and

 8           (d)     by intentionally or recklessly creating a secondary market for the unswapped ERC-

 9                   20 DAG Tokens and failing to adequately warn investors against purchasing the

10                   unswapped ERC-20 DAG Tokens instead of the Mainnet DAG Tokens.

11           227.    Defendants’ acts and omissions are deemed deceptive under N.R.S. 41.600(2)(b)(1)

12   and (3).

13           228.    As a direct and proximate result of Constellation’s unfair and deceptive practices,

14   Plaintiffs and Class members suffered damages. Constellation’s activities caused Plaintiffs and

15   the Class members to purchase and/or retain the ERC-20 DAG Tokens when they otherwise would

16   not have done so.

17           229.    Plaintiffs specifically seek restitution in the form of either (1) a one-for-one swap

18   of their ERC-20 DAG Tokens with the Unused Mainnet DAG Tokens; or (2) the monetary value

19   of the difference between the purchase price of the ERC-20 DAG Tokens and the price of the

20   Mainnet DAG Tokens at the time of the filing of this action. N.R.S. 41.600(3)(a)-(b).

21           230.    Pursuant to Sections 41.600(3)(c) of the Nevada Revised Statutes, Plaintiffs are

22   also entitled to recover from Defendants the reasonable amount of attorneys’ fees and costs

23   Plaintiffs have had to incur in representing their interests in this matter.

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                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 46 of 55




 1                                     SIXTH CAUSE OF ACTION
                              Violation of New York’s General Business Law
 2                                         Art. 22-A, §349, et seq.
                                   (On behalf of the Nationwide Class)
 3

 4             231.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth

 5   herein.

 6             232.   Plaintiffs David Lee, Ete Adote, William Ayers, and Douglas Schadewald are

 7   residents of the State of New York.

 8             233.   For the reasons discussed herein, Defendants violated and continued to violate

 9   Section 349(a) of the New York General Business Law by engaging in the herein described unfair

10   or deceptive acts or practices. Defendants acts and practices, including its material omissions,

11   described herein, were likely to, and did in fact, deceive and mislead members of the public,

12   including consumers acting reasonably under the circumstances, to their detriment.

13             234.   Defendants engaged in deceptive acts and practices under New York law by taking

14   advantage of the lack of knowledge, ability, experience, or capacity of Plaintiffs to a grossly unfair

15   degree, including but not limited to, in the following ways:

16             (a)    by knowingly and intentionally concealing the circumstances involving Defendant

17                    Playford and his misuse of the $33.7 million raised in the Constellation ICO;

18             (b)    by knowingly and intentionally using and/or failing to disclose the use of Satsgang

19                    online promotors to exaggerate the importance of various Company

20                    announcements, including but not limited to, so-called partnerships with the United

21                    States Air Force and Amazon Web Services, in an effort to manipulate and

22                    artificially inflate the price of the DAG tokens;

23             (c)    by knowingly and intentionally creating an unreasonably onerous, short, and

24                    underpromoted process to participate in the DAG Token Swap in order to exclude

25                    as many ERC-20 DAG Token investors as possible and retain any unswapped

26                    Mainnet DAG Tokens; and

27

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                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 47 of 55




 1            (d)    by intentionally or recklessly creating a secondary market for the unswapped ERC-

 2                   20 DAG Tokens and failing to adequately warn investors against purchasing the

 3                   unswapped ERC-20 DAG Tokens instead of the Mainnet DAG Tokens.

 4            235.   As a direct and proximate result of Constellation’s unfair and deceptive practices,

 5   Plaintiffs and Class members suffered damages. Constellation’s activities caused Plaintiffs and

 6   the Class members to purchase and/or retain the ERC-20 DAG Tokens when they otherwise would

 7   not have done so.

 8            236.   Pursuant to GBL §349(h), Plaintiffs seek restitution of the actual damages suffered

 9   by Plaintiffs and the Class in the form of either (1) a one-for-one swap of their ERC-20 DAG

10   Tokens with the Unused Mainnet DAG Tokens; or (2) the monetary value of the difference

11   between the purchase price of the ERC-20 DAG Tokens and the price of the Mainnet DAG Tokens

12   at the time of the filing of this action.

13            237.    In addition, Plaintiffs are entitled to reasonable attorney’s fees and exemplary

14   damages not exceeding three times the value of the consideration given by the consumer, and any

15   other relief this Court determined is appropriate. See GBL §349(h).

16                                    SEVENTH CAUSE OF ACTION
                     Violation of the Texas Deceptive Trade Practices Act (“TDTPA”)
17                   Tex. Business and Commerce Code, Tit. 2, Ch. 17, §17.41, et seq.
                                    (On behalf of the Nationwide Class)
18

19            238.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth

20   herein and further allege the following:

21            239.   Plaintiffs Matthew Farmer and Ian Johns are residents and citizens of the State of

22   Texas.

23            240.   Plaintiffs and the Class intend to assert a claim under the TDTPA against

24   Defendants. Plaintiffs intend to provide Defendant written notice of the specific complaint and

25   damages to Defendants in accordance with the Tex. Bus. & Commerce Code §17.505. Subject to

26   the response, if any, by Defendants within 60 days of the notice, Plaintiffs, on behalf of themselves

27   and the Classes, shall amend the Complaint to include this Claim for Relief and demand all

28   appropriate relief under the TDTPA.


                                           CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 48 of 55




 1          241.    Plaintiffs Matthew Farmer and Ian Johns are residents of the State of Texas.

 2          242.    At all material times, Defendant Constellation engaged in “trade” and “commerce”

 3   as defined by the TDTPA.

 4          243.    Plaintiffs are “consumers” as defined by Section 17.45(4) of the Tex. Bus. &

 5   Commerce Code.

 6          244.    For the reasons discussed herein, Defendants violated and continued to violate the

 7   TDTPA by engaging in the herein described unconscionable, deceptive, unfair acts or practice

 8   proscribed by the TDTPA. Defendants acts and practices, including its material omissions,

 9   described herein, were likely to, and did in fact, deceive and mislead members of the public,

10   including consumers acting reasonably under the circumstances, to their detriment.

11          245.    Defendants engaged in an "unconscionable action or course of action" to the

12   detriment of Plaintiffs as that term is defined by Section 17.45(5) of the Tex. Bus. & Commerce

13   Code, by taking advantage of the lack of knowledge, ability, experience, or capacity of Plaintiffs

14   to a grossly unfair degree, including but not limited to, in the following ways:

15          (a)    by knowingly and intentionally concealing the circumstances involving Defendant

16                 Playford and his misuse of the $33.7 million raised in the Constellation ICO;

17          (b)     by knowingly and intentionally using and/or failing to disclose the use of Satsgang

18                  online promotors to exaggerate the importance of various Company

19                  announcements, including but not limited to, so-called partnerships with the United

20                  States Air Force and Amazon Web Services, in an effort to manipulate and

21                  artificially inflate the price of the DAG tokens;

22          (c)     by knowingly and intentionally creating an unreasonably onerous, short, and

23                  underpromoted process to participate in the DAG Token Swap in order to exclude

24                  as many ERC-20 DAG Token investors as possible and retain any unswapped

25                  Mainnet DAG Tokens; and

26          (d)     by intentionally or recklessly creating a secondary market for the unswapped ERC-

27                  20 DAG Tokens and failing to adequately warn investors against purchasing the

28                  unswapped ERC-20 DAG Tokens instead of the Mainnet DAG Tokens.


                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 49 of 55




 1             246.   Defendants’ acts and omissions are deemed deceptive under Tex. Bus. &

 2   Commerce Code §17.46(b)(5), (12) & (24), thereby entitling Plaintiffs to relief pursuant to

 3   §17.50(a)(1) & (3).

 4             247.   Pursuant to Tex. Bus. & Commerce Code §17.50(b)(3), Plaintiffs seek restitution

 5   in the form of either (1) a one-for-one swap of their ERC-20 DAG Tokens with the Unused

 6   Mainnet DAG Tokens; or (2) the monetary value of the difference between the purchase price of

 7   the ERC-20 DAG Tokens and the price of the Mainnet DAG Tokens at the time of the filing of

 8   this action.

 9             248.   In addition, pursuant to Tex. Bus. & Commerce Code §17.50(b)(1), Plaintiffs are

10   entitled to economic damages, costs, attorney’s fees, additional damages up to three times actual

11   damages, and any other relief this Court determines is appropriate.

12                                    EIGHTH CAUSE OF ACTION
                            Violations of Vermont’s Consumer Protection laws
13                                   Vt. Stat. Ann. tit. 9, §2451, et seq.
                                    (On behalf of the Nationwide Class)
14

15             249.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth

16   herein.

17             250.   Plaintiff Stephen Marshall is a resident of the State of Vermont.

18             251.   At all material times, Defendant Constellation was a “seller” as defined by 9 V.S.A.

19   §2451a(3).

20             252.   Plaintiffs are “consumers” as defined by 9 V.S.A. §2451a(1).

21             253.   The ERC-20 DAG Tokens constitute “goods” or “services” under 9 V.S.A.

22   §2451a(2).

23             254.   For the reasons discussed herein, Defendants violated and continued to violate the

24   Vermont’s consumer protection laws by engaging in the herein described unfair or deceptive acts

25   or practices. Defendants acts and practices, including its material omissions, described herein,

26   were likely to, and did in fact, deceive and mislead members of the public, including consumers

27   acting reasonably under the circumstances, to their detriment.

28


                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 50 of 55




 1          255.    “Whether an act is ‘unfair’ is guided by consideration of several factors, including

 2   (1) whether the act offends public policy, (2) whether it is immoral, unethical, oppressive or

 3   unscrupulous, and (3) whether it causes substantial injury to consumers.” See Drake v. Allergan,

 4   Inc., 63 F. Supp. 3d 382, 393 (D. Vt. 2014).

 5          256.    Defendants engaged in an “immoral, unethical, oppressive and unscrupulous”

 6   conduct that offends public policy and causes injury to consumers like Plaintiffs, by taking

 7   advantage of the lack of knowledge, ability, experience, or capacity of Plaintiffs to a grossly unfair

 8   degree, including but not limited to, in the following ways:

 9          (a)     by knowingly and intentionally concealing the circumstances involving Defendant

10                  Playford and his misuse of the $33.7 million raised in the Constellation ICO;

11          (b)     by knowingly and intentionally using and/or failing to disclose the use of Satsgang

12                  online promotors to exaggerate the importance of various Company

13                  announcements, including but not limited to, so-called partnerships with the United

14                  States Air Force and Amazon Web Services, in an effort to manipulate and

15                  artificially inflate the price of the DAG tokens;

16          (c)     by knowingly and intentionally creating an unreasonably onerous, short, and

17                  underpromoted process to participate in the DAG Token Swap in order to exclude

18                  as many ERC-20 DAG Token investors as possible and retain any unswapped

19                  Mainnet DAG Tokens; and

20          (d)     by intentionally or recklessly creating a secondary market for the unswapped ERC-

21                  20 DAG Tokens and failing to adequately warn investors against purchasing the

22                  unswapped ERC-20 DAG Tokens instead of the Mainnet DAG Tokens.

23          257.    Pursuant to 9 V.S.A. §2461(b), Plaintiffs seek restitution in the form of either (1) a

24   one-for-one swap of their ERC-20 DAG Tokens with the Unused Mainnet DAG Tokens; or

25   (2) the monetary value of the difference between the purchase price of the ERC-20 DAG Tokens

26   and the price of the Mainnet DAG Tokens at the time of the filing of this action.

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                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 51 of 55




 1             258.   In addition, pursuant to 9 V.S.A. §2461(b), Plaintiffs are entitled to reasonable

 2   attorney's fees and exemplary damages not exceeding three times the value of the consideration

 3   given by the consumer, and any other relief this Court determined is appropriate.

 4                                     NINTH CAUSE OF ACTION
                            Violation of Washington’s Consumer Protection Act
 5                            Rev. Code Wash. Ann. tit. 19, Ch. 19.86, et seq.
                                    (On behalf of the Nationwide Class)
 6

 7             259.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth

 8   herein.

 9             260.   Plaintiff Ralph Porter is a resident of the State of Washington.

10             261.   The ERC-20 DAG Tokens are “assets within the meaning of RCWA 19.86.010(3).

11             262.   Plaintiffs are “persons” within the meaning of RCWA 19.86.010(1).

12             263.   Under Washington’s Consumer Protection Act, a private civil action for unfair or

13   deceptive acts or practices that were injurious to the public interest can be established when, among

14   other things, the act or practice: (a) injured other persons; (b) had the capacity to injure other

15   persons; or (c) has the capacity to injure other persons. RCWA 19.86.093(3).

16             264.   Defendants engaged in “unfair or deceptive acts or practices” that were, and

17   continued to be, injurious to the public interest under RCWA 19.86.020 and 19.86.093 through

18   Defendants’ use or employment of deception, fraud, false pretense, false promise,

19   misrepresentation or the concealment, suppression or omission of any material fact, including but

20   not limited to, in the following ways:

21             (a)    by knowingly and intentionally concealing the circumstances involving Defendant

22                    Playford and his misuse of the $33.7 million raised in the Constellation ICO;

23             (b)    by knowingly and intentionally using and/or failing to disclose the use of Satsgang

24                    online promotors to exaggerate the importance of various Company

25                    announcements, including but not limited to, so-called partnerships with the United

26                    States Air Force and Amazon Web Services, in an effort to manipulate and

27                    artificially inflate the price of the DAG tokens;

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                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 52 of 55




 1             (c)    by knowingly and intentionally creating an unreasonably onerous, short, and

 2                    underpromoted process to participate in the DAG Token Swap in order to exclude

 3                    as many ERC-20 DAG Token investors as possible and retain any unswapped

 4                    Mainnet DAG Tokens; and

 5             (d)    by intentionally or recklessly creating a secondary market for the unswapped ERC-

 6                    20 DAG Tokens and failing to adequately warn investors against purchasing the

 7                    unswapped ERC-20 DAG Tokens instead of the Mainnet DAG Tokens.

 8             265.   As a direct and proximate result of Constellation’s unfair and deceptive practices,

 9   Plaintiffs and Class members suffered damages. Constellation’s activities caused Plaintiffs and

10   the Class members to purchase and/or retain the ERC-20 DAG Tokens when they otherwise would

11   not have done so.

12             266.   Plaintiffs have been economically damaged thereby and, as such, are entitled to

13   actual damages pursuant to RCWA 19.86.090.

14             267.   Plaintiffs specifically seek restitution in the form of either (1) a one-for-one swap

15   of their ERC-20 DAG Tokens with the Unused Mainnet DAG Tokens; or (2) the monetary value

16   of the difference between the purchase price of the ERC-20 DAG Tokens and the price of the

17   Mainnet DAG Tokens at the time of the filing of this action.

18             268.   In addition, pursuant to RCWA 19.86.090 Plaintiffs are entitled to costs, attorney's

19   fees, additional damages up to three times actual damages, and any other relief this Court

20   determines is appropriate.

21                                     TENTH CAUSE OF ACTION
                                       Unjust Enrichment/Restitution
22                                          (In the Alternative)
                                     (On behalf of the Nationwide Class)
23

24             269.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth

25   herein.

26             270.   Plaintiffs and members of the Class conferred a monetary benefit on Constellation

27   as a result of being excluded from participating in the DAG Token Swap.

28


                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 53 of 55




 1             271.   Defendants received a benefit in the form of either their continued retention of the

 2   Unused Mainnet DAG Tokens or the value of the corresponding increase in the value of their

 3   respective DAG Token holdings if Defendants in fact burned the Unused Mainnet DAG Tokens,

 4   and are in possession of this monetary value that was intended to be used for the benefit of, and

 5   rightfully belongs to, Plaintiffs and members of the Class.

 6             272.   Plaintiffs and the Class were precluded from participating in the DAG Token Swap

 7   by Defendants, who, in turn, received an inappropriate windfall.

 8             273.   Plaintiffs seek restitution in the form of either (1) a one-for-one swap of the ERC-

 9   20 DAG Tokens with the Unused Mainnet DAG Tokens; or (2) the monetary value of the

10   difference between the purchase price of the ERC-20 DAG Tokens and the price of the Mainnet

11   DAG Tokens at the time of the filing of this action.

12                                  ELEVENTH CAUSE OF ACTION
                                          Declaratory Judgment
13                                           28 U.S.C. §2201
                                    (On Behalf of the Nationwide Class)
14

15             274.   Plaintiffs restate and reallege all preceding allegations above as if fully set forth
16   herein.
17             275.   Under the Declaratory Judgment Act, 28 U.S.C. §2201, et seq., this Court is
18   authorized to enter a judgment declaring the rights and legal relations of the parties and grant
19   further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,
20   that are tortious and that violate the terms of the California state statutes described in this
21   complaint.
22             276.   Plaintiffs seek a declaration of the rights of the parties under the Federal
23   Declaratory Judgement Act, 28 U.S.C. §2201.
24             277.   An actual and justiciable controversy exists between the parties in light of
25   Defendants’ (1) misrepresenting that there was nothing that they can do when Plaintiffs contacted
26   Constellation to report that they were unable to participate in the DAG Token Swap; (2) failing to
27   disclose that Constellation can identify the owners of the unswapped ERC-20 DAG Tokens; and
28


                                          CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 54 of 55




 1   (3) refusing to allow Plaintiffs and the Class to swap their eligible ERC-20 DAG Tokens for

 2   Mainnet DAG Tokens.

 3          278.    Plaintiffs and Class members lack an adequate remedy at law.

 4          279.    Constellation cannot, as a matter of law, disclaim or assign the liability of loss,

 5   conversion, or destruction of the value of the Unused Mainnet DAG Tokens when Constellation

 6   knows that the ERC-20 DAG Tokens were eligible to participate in the DAG Token Swap,

 7   Constellation purposefully created an extremely narrow window under onerous conditions for

 8   ERC-20 DAG Token holders to swap their tokens, Constellation purposefully and repeatedly

 9   refuses to allow Plaintiffs and the Class to swap their ERC-20 DAG Tokens for the Unused

10   Mainnet DAG Tokens that were minted specifically for that purpose, and Constellation knowingly

11   did all this to retain the value of the Unused Mainnet DAG Tokens at the expense of Plaintiffs and

12   Class members.

13          280.    Constellation’s attempt to disclaim liability is unconscionable and unenforceable

14   as to Plaintiffs and Class members, and Plaintiffs seek a declaration to that effect.

15                                           PRAYER FOR RELIEF

16          WHEREFORE, Plaintiffs, individually, and on behalf of all others similarly situated,

17   respectfully request that this Court:

18          A.      Determine that the claims alleged herein may be maintained as a class action under

19   Rule 23 of the Federal Rules of Civil Procedure, and issue an order certifying one or more of the

20   Classes defined above;

21          B.      Appoint Plaintiffs as the representatives of the Class and their counsel as Class

22   counsel;

23          C.      Award all actual, general, special, incidental, statutory, punitive, and consequential

24   damages and restitution to which Plaintiffs and the Class members are entitled;

25          D.      Award post-judgment interest on such monetary relief;

26          E.      Grant appropriate injunctive and/or declaratory relief, including, without limitation,

27   an order that requires Defendants to open another DAG Token Swap period to allow Plaintiffs and

28   Class members to swap their ERC-20 DAG Tokens for either the Unused Mainnet DAG Tokens


                                         CLASS ACTION COMPLAINT
      Case 4:21-cv-08869-JSW Document 1 Filed 11/16/21 Page 55 of 55




 1   or newly minted Mainnet DAG Tokens in the event that the Unused Mainnet DAG Tokens were

 2   burned by Defendants;

 3           F.      Award reasonable attorneys’ fees and costs; and

 4           G.      Grant such further relief that this Court deems appropriate.

 5                                           JURY DEMAND

 6           Plaintiffs, on behalf of themselves and the putative Class demand a trial by jury on all

 7   issues so triable.

 8   DATED: November 16, 2021                       SCOTT+SCOTT ATTORNEYS AT LAW LLP

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                                         CLASS ACTION COMPLAINT
